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Direction des Affaires Civiles et du Sceau
Bureau du droit de I’Union, du droit international privé
et de l’entraide civile
13 Place Vendome
75042 PARIS CEDEX 01

Paris, le 27-01-2017

LE GARDE DES SCEAUX,

MINISTRE DE LA JUSTICE
@ Téléphone : 01 44 77 62 43 ou 65 73 A ,
Téiécopie ; 01 44 77 61 22 DANIEL F BLANKS
50 NORTH LAURA STREET, APPARTEMENT 4100
FL 32202 JACKSONVILLE

ETATS_UNIS D’AMERIQUE
00.01.2017 001035

Référence a rappeler :
8049TR2016 ETATS-UNIS D’AMERIQUE

58NOTIF2016

Demande Daniel F Blanks-Procédure n°3:16-ap-00183-
PMG-Convocation devant le Tribunal des Faillites des
Etats-Unis, district méridional de Floride

Destinataire : REPUBLIQUE FRANCAISE

Obj et : Retour d’une demande de notification d’acte judiciaiiez

Texte de référence : Circulaire NOR JUS COS 20 961 C (CIV/20/05) du 1er février 2006, relative aux "Notit`ications
internationales des actes judiciaires et extrajudiciaires en matiére civile et commerciale" [ la partie pratique dela circulaire
est disponible sur l'lntemet 2`1 1'adresse : WWW.entraide-civile-internationale.iustice.zouv.fr

J'ai l'honneur de vous faire parvenir Sous ce pli les documents établis a 1a Suite d'une demande

de notification internationale

LD

 

 

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CE§TIF CAT

 

L’autorité soussignée a |’honneur d’attester conformément a l’article 6 de ladite Convention,
The undersigned authority has the honour to certify, in conformity with Artic|e 6 of the Convention,

IX 1. que la demande a été exécutée*
that the document has been served*

 

- le (date) / the (date); 16/12/2016
- a (iocaiité, rue, numéro); rouR PAscAL B - 92055 LA DEFENSE cEDEX

at (place, street, number):

 

 

 

 

- dans une des formes suivantes prévues a l’article 5 :
in one of the following methods authorised by Ariic|e 5:
g a) selon les formes légales (article 5, alinéa premier, lettre a)*
in accordance with the provisions of sub-paragraph a) of the first paragraph of Article 5 of the
Convention*

 

 

[] b) selon la forme particu|iére suivante*:
in accordance with the following particular method*:

 

ij c) par remise simp|e*
by delivery to the addressee if he accepts it voluntarily*

 

 

 

 

 

Les documents mentionnés dans la demande ont éte' remis a :
The documents referred to in the request have been delivered to:

 

 

|dentité et qualité de la personne : Nlinistére de |'Environnement‘ de l‘Eneraie et de la l\/le_r'”
ldentity and description of person: - l\/|onsieur Jean-Luc LAVALARO (Courrier Central
_T_P_A)

 

Liens de parenté, de subordination ou autres,
avec le destinataire de l’acte :

Relationship to the addressee (family, business or
other):

 

 

 

 

l:l 2. que la demands n’a pas été exécutée, en raison des faits suivants* :
that the document has not been served, by reason of the following facts*:

 

 

 

 

I:] Conformément a |’article 12, alinéa 2, de ladite Convention, le requérant est prié de payer ou de
rembourser les frais dont le détail figure au mémoire ci-joint*.
ln conformity with the second paragraph of Artic|e 12 of the Convention, the applicant is requested to pay or
reimburse the expenses detailed in the attached statement*.

Annexes /Annexes

 

Piéces renvoyées :
Documents returned:

 

Le cas échéant, les documents justificatifs de Avis de reception de |'envoi en recommendé
l’exécution : n° 1A 064 825 1070 9

|n appropriate cases, documents establishing the
service:

" S’i| y a lieu /if appropriate

 
 
 

 

 

Signature and/or sta

le / the 06/01;2017 §

Fait a / none ar PARIS signature et / ou §§

 

 

 

 

 

 

 

Bureau Perrnanent Seotem'ore ZO'l l

 

                

 

 

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Tribunal des faillites des Etats-Unis
District méridional de Floride

111 re : Affaire de faillite 110. 3 : 16~bk~02230-
RMS TITANIC, INC. PMG
Débiteur
Procédure contradictoire 110. : 3 ; 16-ap-
RMS TITANIC, INC. 00183~PMG
Demandeur
V.
LA REPUBLIQUE FRANCAISE,
ALIAS LA REPUBLIQUE DE FRANCE
De’fendeur

C@NVoCA TIONA UNE PRoCED URE CoNTRADjCToIRE

VOUS ETES CONVOQUE et 011 vous demande de Soumettre une requéte ou de répondre` a la plainte
qui est jointe a cette convocation aupr€)s du Greffier du Tr1bunal des faillites dams un délai de 30 Jours
apr<`zs la date d’émission de la présente convocation; de maniére exceptionnelle, les EtatS-Unis et Ses
fonctionnaires et agences doivent Soumettre une requéte ou répondre` a la plainte dams un délai de 35
jours aprés l’émission.

 

 

L’adresse du greffler

Greffler, Cour des faillites des }§`,tatS-Unis
District Méridional de Floride
. 300 North Hogan Street Appartemeni:s 3 - 150

 

 

Jaclksonville, FL 322012

En méme temps, Vous devez fournir une copie de 1a requéte 0u une réponse §1 l’avocat du demandeu'r.

 

Nom et adresse de l’avocat du demandeur~

Daniel F Blanks
50 North Laura Street, Appartement 4100
Jacksonville, FL 32202

 

 

 

Si Vous présentez une requéte, le délai dont Vous disposez pour répondre se soumet 51 la L01 Fédérale de
la Procédure de Faillite 7012.

SI VOUS NE REPONDEZ PAS A LA PRESENTE CONVOCATION, VOTRE DEFAILLANCE
SERA CONSIDERE COMME ETANT VOTRE CONSENTEMENT RELATIF 131
L’ENREGISTREMENT DU JUGEMENT AUPRES DE LA COUR DES FAILLITES; UN
JUGEMENT PAR DEFAUT PEUT ETRE PRONONCE A VOTRE ENCONTRE POUR LES
REPARATIONS DEMANDEES DANS LA PLAINTE. gang

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nagle 7001-1
PRoCEDURE CoNTRADICToIRE ~ PRoCEDUREs

(a) Dispositions ge'ne'rales; Cette regle s’applique a toutes les procedures contradictoires et_, selon la

decision de la Cour, auX affaires contestees. Dans la rnesure ou les periodes etablies dans la
presente regle entrent en con;llit avec celles etablies dans les Regles Federales de Proce’dure
Civile, les Regles Generales de Procedure de Faillite ou avec d’autres Regles Locales, la presente
regle a la primaute.

(b) La signification. Le demandeur est tenu de transmettre la convocation issue par le Grefiier, la
plainte et une copie de la presente regle dans un delai de sept jours apres l’ernission de la
convocation, tel que requis par la Regle Federale de Procedure de Faillite 7004(e). Si la
convocation initiale et les documents qui y sent joints ne sent pas transmis en temps utile, le
demandeur peut solliciter immediatement l’ernission d’une convocation alias et peut transmettre
la convocation alias avec la plainte et une copie de la presente regle. Le demandeur est tenu de
transmettre ces documents auX defendeurs dans un delai maximal de 28 jours apres le depc“)t de la
plainte. Si une autre partie est nornrnée ensuite en tant que demandeur ou defendeur, le
demandeur est tenu de transmettre une copie de la presente regle a chaque partie supplementaire
dane un delai de sept jours apres la date ou la partie supplementaire est nomrnee.

(c) Preuve de signification. Le demandeur est tenu de deposer irnmediaternent une preuve de la
signification, qui atteste la transmission de chaque convocation, de la plainte et de la presente
regle a chaque defendeur.

(d) De’faut de signification. Si le demandeur ne transmet pas en temps utile et de maniere efficace la
convocation et la plainte, la Cour peut rejeter la procedure contradictoire pour absence de
poursuite, sans notification ou audience ulterieure. Si le demandeur a besoin d’un delai
supplementaire pour effectuer la signification, il do it deposer une requete pour demander un delai
supplementaire.

(e) Défaillances. Si le defendeur n’a pas depose une reponse en temps utile, le demandeur est tenu
de solliciter un enregistrement de la defaillance du defendeur respectif par le Greftier et le
jugement par defaut dans un delai maximal de 60 jours apres le dep<“)t de la plainte. Si le
demandeur requiert un delai supplementaire pour solliciter l’enregistrernent de la defaillance ou
le jugernent par defaut, il doit deposer une requete pour demander un delai supplementaire.

(1) De’clarations initiales. En conformite avec la Regle Federale de Procedure Civile 26(1), pendant
ou avant la Rencontre des Parties decrite ci-dessous et sans des demandes formelles de
decouverte, chaque partie doit :

(l) ldentifler par ecrit le nom et, s’ils sont connus, l’adresse et le numero de telephone de chaque
individu ayant des informations qui peuvent etre divulguees et qui font reference aux faits
disputes ;

(2) Fournir des copies ou une description ecrite, par categories et lieux, de tous les documents
qui sont importants dans la perspective des faits disputes ;

(3) Fournir un calcul ecrit de tous les dornrnages reclame’s ;

(4) Fournir une copie de tout accord d’ assurance qui puisse etre disponible at`ln de se conformer

a un jugernent rendu, en totalite ou en paitie, ou d’mdernniser ou de rembourser les paiements
effectues pour se conformer au jugement.

 

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(g) Rencontre des Parties.
misc en etat, les avocats des parties ou
avocats, sc rencontrcront (<< la Rencontre
(l) Les pretentions et les defenses des parties ;

(2) La possibilite d’arriver a un reglemcnt a l’amiable ;
(3) Les declarations initiales requises dans la sous-section (i)
(4) Un plan d’cnquete,

Dans un delai d’ au moins 14 jours avant la conference preparatoirc ou dc
les parties, si ellcs ne sont
des Parties ))) afm dc discuter :

pas representees par des

ci-dcssus ; ct
tel que requis par la Reglc Federale de Procedurc Civile 26(1:). S’il n’y a

pas de dispositions contraires donnees par la Cour, les parties peuvent annoncer oralernent

leur plan d’enquétc lors dc la conference preparatoire ou
tenucs dc deposer un rapport ecrit.

(h) La conference preparatoire ou de mise en e'tat. La Cour
ou dc misc en etat a tout moment apres
cas, dans un delai approximatif dc 90 jours apres le dep<“)t
droit dc presentcr des temoignages ou
en etat. La Cour, en tout cas, pcut considerer importants
offerts sans objection par les parties opposees,
des admissions effectuees pendant la conference
par l’intcrmediairc des avocats respectifs.

(1) L’enqué`te.

(l) Dz’spositions ge’ne’rales. Les parties doivcnt
compris les Lois Locales 7026~1, 7030~1 et 7037-1.

(2) De’but de l’enquéte.
commencer qu’apres avoir obtenu unc conclusion suite a la

des preuvcs documentaircs
des faits non-disputes, des affidavits
des elements relatifs a la connaissance d’ofiicc ct

de misc en etat par les partics, directcrnent ou

de misc en etat ; elles nc sent pas

organiscra unc conference preparatoirc
le de et d’unc contestation d’unc dcmande mais, en tout
p t o

de la plaintc. Les parties n’ont pas le

lors de la conference dc misc

connaitrc les Regles Federales sur l’enquetc, y

S’il n’y a pas d’cxcmption etablic par la Cour, l’enquetc ne pcut
Rencontrc des Parties.

(3) De’lai de l’enquéte. Lcs parties sont tenues d’cffectuer l’cnquete dans un delai maximal dc

sept jours avant la date du proccs ; par contrc,
programmecs avant jusqu’ a la date du proces.

(4) Disputes sur l’enquéle.
de resoudre le litigc de bonne foi,
Faillitc 7037(a)(1). Si les parties ne sont pas capables
dcmandcr a la Cour une conference par telephone, de
inforrnelle et preliminaire sur la dispute qui porte sur
de toutc partie de deposer unc rcquétc forrnellc.

(i) Les requétes.

(l) Les requétes
Toutes les rcquetcs, a l’echption des types
deposees ct remises en utilisant lcs procedures d’ avis contraire
(i) Les requetes stipulees, cornrnunes ou de consentemcnt ;
(ii) Lcs requetes pour prolongcmcnt des delais ;
(iii)Les requétcs de continuation ;
(iv)Les requetcs portant sur les situations d’urgcnce ou sur unc
(v) Les requetes en
(vi)Lcs requétes en

Les instructions sur l’avis contraire doivcnt prevoir
rcquetcs de jugement sommaire, dans le cas
pas de stipulation contraire donnee par la Cour.
pcnse necessaire, dans un delai maxirnal dc sept jours apres

l

onnes ci-dcssous,
de la Regle Localc 2002~4 :

vuc de l’enrcgistremcnt de la defaillancc et
vue du retrait dela reference, en conforrnite avec la Reglc Locale 5011~1.

les parties peuvent prendrc des depositions

S’il y a unc dispute sur l’enquete, les parties doivcnt essaycr d’abord
tel que requis par la Reglc
de resoudrc la dispute, toutc partie peut
manierc que la Cour rende unc decision
l’enquetc, sans porter attcinte au droit

Fe'deralc dc Procedurc de

doivent étre de’pose’es en utilisant les proce’dures d’avis contraire de la Cour.
dc requetcs menti

doivcnt etre

exemption immediate ;
du jugement par defaut ; et

une periodc dc reponsc de 14 jours, a l’echption des
desquelles le temps de reponse sera de 21 jours, s’il n’y a
L’auteur de la rcquete pcut
le depc“)t dc la reponse.

deposer unc reponse, s’il

 

 

Ca ' - - ~ .
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(2) Le format Toutcs les requétes, reponscs ct repliques doivcnt rcspccter le Guide Stylistique

de la Cour, qui se trouve sur le site lnternct dc la Cour, wWW.flmb.uscourts.gov. Lcs

documents doivcnt etre rediges a interlignc double et, le cas echeant, doivcnt inclure un
memorandum juridique qui doit comprcndre l’argumcnt ct la mention des autorites. S’il n’y a
pas d’eXemption donnec par la Cour, les mentions et les memorandums d’appui ne doivcnt
pas depasscr dix pages

(3) Requétes d’urgenee. La Cour prendra en comptc les rcquetcs d’urgencc a tout moment, a son
entierc discretion Les rcquetcs d’urgence doivcnt respecter la Regle Lccale 9004-2(c) et
doivcnt etre deposees en utilisant lc lien Depots d’urgencc/Questions urgentes/Requetcs
d’urgcnce qui se trouve sur le site lnternet dc la Cour, Www,ilmb.uscouits.gov.

(4) Requétes deposées ajin d’e’tablir si l’affaire est centrale. Une partic qui contestc
l’enregistrcment des decisions ou les jugcments finaux donnes par la Cour des faillitcs sur
tout probleme qui fait reference a la procedure contradictoire doit deposer unc rcquete, en
respectant la date etablic pour deposer unc reponse a la plaintc, par laquelle clle .doit
dcmandcr que la Cour etablissc si la procedure est unc procedure centrale ou s1 cllc se sournct
a l’enregistrcmcnt des decisions ou des jugemcnts tinaux par cette Cour. On considerera
qu’unc partie qui ne depose pas unc requetc dans le delai etabli pour le depc“)t d’une reponsc a
la plainte a exprime son accord avcc l’cnregistrcrncnt par la Cour des faillitcs des decisions ct
des jugemcnts finaux de la procedurc, qui peuvent etre contestecs seulemcnt par appel, en
conformite avcc 28, Code des Etats-Unis § 158.

(5) Requétes pour jugement sommaire. Lcs requetcs pour jugcments sommaires doivcnt etre
deposees dans un delai maximai dc 60 jours avant le proces, La Cour pcut etablir une
audience sur la rcquetc pour jugcrnent scmmaire, mais ccla n’cst pas obligatoirc. S’il n’y a
pas dc disposition de la part de la Cour, le proces aura lieu le jour etabli, memc s’il y a unc
requéte pour jugcment scmmaire en cours,

(k) De'claraz.‘ions concernant les te’mains et emploi des depositions avant le procés. La Reglc
Federale dc Procedurc Civile 26(a)(3) (a l’exception des dispositions qui portent sur les limites)
regira les declarations concernant les temoins ct l’emploi des depositions avant le proces. Les
parties doivcnt deposer et echanger des noms, des numeros dc telephone ct des adrcsscs des
terrioins, tout comme tout autre element des depositions dans un delai maximal de 28 jours avant
le proces. Les objections concernant l’emploi des depositions devront etre deposecs dans un delai
dc 14 jours apres les declarations Lcs parties peuvent se referer a toutc stipulation factuelle ou
concernant les preuvcs avant le proces.

(l) Lespreuves.

(l) Les preuves qui seront deposées et e’change'es par l’interme'diaire du CM/ECF. Lcs
parties doivcnt preparer les prcuvcs en conformite avcc la Reglc Localc 9070~1 et
l’Ordre Administratif FLMB-2015~6 qui porte sur les Prcuves Stocl<ees sur support
electroniquc et doivcnt echanger des preuvcs dans un delai maximal dc sept jours
avant la date etablic pour le proces. Sauf objection ecrite concernant l’admissibilite
d’une preuvc, deposee avant la clc“)turc de l’affaire, le lendcmain du proces, toutc
objection d’admissibilite (autre que cclles prevucs par la Regle Federalc sur lcs
Prcuvcs 402 et 403) scra consideree annulee.

(?.) Auto-authentification des enregistrements de l’activite’ mene'e régulierement. Unc
partie qui a l’intcntion de faire recours aux procedures d’auto-authcntiiication prevucs
par la Regle Federale sur les Preuves 902(11) ou (12) afin de presentcr comme
elements de preuvc des cnregistrerncnts concernant lcs activites mcnecs
reguliercment, cri conformite avcc la Regle Federalc sur les Prcuvcs 803(6), doit, dans

 

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un delai maximal dc 28 jours avant le proces, deposer aupres de la Cour et remettrc
aux autres parties la declaration ecrite requise par la Regle Federale sur les Preuvcs
902(11) ou (12) et unc copie des tous les enrcgistrements qui sent presentes en vue de
1’admission.

(m) Te’moignages des experts. Sauf si la Cour decide autrcmcnt, unc partic qui veut effrir des
temoignages des experts pendant le preces deit respectcr les eXigences de la Reglc Federale dc la
Procedurc Civile 26(a)(2).

(n) Stipnlations. Toutcs les stipulations des parties doivcnt etre preparees par ecrit ct doivcnt etre
signecs et depesees immediatement aupres de la Cour.

(o) Supple’mentalion des declarations Les parties sent tenucs de supplementer ou de corriger lcurs
Declarations initialcs et lcurs Declaratiens formulecs avant lc preces, en confermite avcc la
Reglc Federalc de la Preeedure Civile 26(c).

(p) Sanctions. Si les cXigcnces dc cette regle ne sent pas rcspcctecs, cela peut mener a des sanctions,
qui peuvent comprendre l’annulation dc la plainte d’une partic ou le rcfus du droit dc prescntcr
des preuvcs ou des temoignages des temoins.

(q) Reglements d l’amiable. En cenfermite avcc la Loi Lecalc 9019~1, les parties sent tenucs de
notifier immediatemcnt la Cour concernant tout reglcmcnt a l’amiablc et de deposer ct dc
transmcttrc prempternent une rcquete pour dcmandcr l’apprebatien du compromis dans l’affaire
principale du debiteur et pas dans la procedure contradictoirc. Si la plainte fait valeir seulemcnt
des pretentiens fermulees en cenformite avcc ll du Code des Etats~Unis § 523, unc requétc
d’approbation du compromis n’est pas necessaire. En tout cas, le cas echeant, les parties peuvent
dcmandcr l’approbatien du reglemcnt a l’amiablc en depesant une requetc dans la procedure
centradicteire.

Notations du Comite’ Consnltatif
201 6

Cette neuvelle regle comprend les dispositions de l’Ordre Administratif archive FLl\CB-20l4-l,
<< Ordre Adrninistratif prcscrivant les Precedures pour la Precedurc Centradicteire >>. En plus, la section
(1)(4) concernant les declarations ferrnulecs avant le preces est conformc maintenant a la Regle Federale
dc Procedurc Civile 26(1). La regle appertc egalemcnt des clarifications sur l’eXigcnce selon laquelle la

rcquete dans la procedure contradicteire doit etre deposee et transmisc en utilisant les procedures dc
l’avis contraire prevues par la Loi Lecalc 2002-4. Cettc reglc entre en vigucur le ler juillct 2016.

 

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CERTIFICAT DE SIGNIFICATION

le seussigne, ......... , ccrtific que j’ai l’agc legal, que j’ai cu l’age legal pendant la signification
et que jc ne suis pas unc partie de l’affaire qui fait l’objct de la signification. De memc, jc certiiic avoir
transmis la presente convocatien, unc cepie de la plainte et unc eepic de la Regle Lecale 7001-l le
......... (date), par :
[e] Le service postal : courricr reguli
adresse a :
[e] Signifieation pcrsennelle :
defendeur, a :
[c] Signification ala residence : En laissant la cepie du proces a la pcrsennc adulte ci-dcssous, a :
[e] Le service de peste rccommandec ou une lnstituticn dc depet assure : En envoyant le preces par
peste certifiee adrcsse au fonctiennairc ou au representant ci-desseus, a :
[0] Par publication : Le defendeur a recu la copic comme suit : [chillez decrirc brievcment]
[o] La 101 dc l’Etat : Le defendcur a rccu le document cn~ confermite avcc les lois dc l’l§tat de .........

(nom de retain

er, courricr rapide des Etats~Unis, courricr prepaye entierernent,

Apres le proces, au defendcur cu a un fonctiennaire eu representant du

Sous peine de parjure, je declare que les faits exposes ci-dcssus sent vrais ct chcts.

Signaturc

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Nem im rirne’
Adrcsse cemmercialc

    
 

 

 

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TRIBUNAL DES FAILLITES DES ETATS~UNIS
DISTRIC'I` MERIDIONAL DE FLORIDE
DIVISION DE JACKSONVILLE

ln re : Affairc no. 3 : 16-bk-02230~PMG
RMS TITANIC, lNC., et al.1 Chapitre ll (Administre cenj ointement)
Debitcurs

Procedurc centradicteire ne. :
RMS TITANIC, lNC.
Dcmandcur

v.
LA REPUlSLlQUE FRANCAISE, ALIAS
LA REPUBLIQUE DE FRANCE
Defcndeur

PLAINTE CONTRADICTOIRE

Le demandeur, RMS Titanic, lnc. (<< le Dcmandcur »), par ct par l’intermediaire dc ses avocats
soussignes, allegue et porte plainte par la presente centre le Defcndeur, 1a Republique Francaisc, alias la
Republiquc dc France (<<1a Francc » ou << le Defcndcur »), comme suit :

NATURE DE L’ACTION

1. Lc present document rcprescntc unc procedure centradicteire introduite en conferrnite avcc lcs
Regles 7001(2) et (9) des Regles Federalcs sur la Procedure de Faillitc (<< les Regles sur la
faillitc ») et avcc les Sections 105 ct 363 du Titre 11 du Code des l§tats~Unis, §§ 101 et suiv. (<< le
Code dela faillitc >>), ayant comme but de dcmandcr : (i) un jugcment declaratoirc, en conferrnite
avcc 1a Regle sur la faillitc 7 001(9), confermement auquel la France n’a pas d’interet dans les
Artcfacts francais (tcl que defini ci-dcssous) ; ou (11) alternativcrnent, unc decisien, en cenformite

avcc 1a Reglc sur la faillitc 7001(2) sur 1a validite, la priorite ou l’etenduc dc tout interet dc la
France dans les Artcfacts francais (tel que defini ci-desseus).

JURIDICTIoN ET CoMPr’;TENCE

2. La presence Ceur est eempetcntc en la matiere, en conferrnite avcc 28 Code des l§`,tats-Unis §§

157 et l334(b).
3. La presente procedure centradicteire cst unc procedure ccntrale, en conformite avcc 28, Code des

antenna § 157(1>)(2).

 

‘ Les Debiteurs mentionnes dans les affaires du Chapitre 11, accompagnes par les quatrc derniers chifl`rcs dc leurs numeros
' d’identitication federale aux ins de l’impet, sent: RMS Titanic, lnc. (3162) ; Prernier Exhibitiens, Inc. (4922) ; Prernier
Exhibitions Managemcnt, LLC (3101) ; Arts and Exhibitiens lnternational, LLC (3101) ; Prcmicr Exhibitions lnternational,
LLC (5075) ; Premier Exhibiticns NYC, lnc. (9246) ;Premier Merchandising, LLC (3867) ; et Dinosaurus Uncarthed Corp.
(7309). L’adrcssc dc service des Debitcurs est z 3045, Kingston Court, Appartement I, Peachtree Corncrs, Gcorgia, 30071.

 

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Le lieu dc jugcment de cette affaire et dc la presente procedure centradicteire dans le present
District est conformc, en cenfermite avec 28, Code des Etats-Unis §§ 1408 et 1409.

LES PARTIES

,==_=_=_=_..__=-====-'

Le Dcmandcur est un debitcur et un debitcur-nen-dessaisi dans l’affaire susvisec dans le Chapitrc

1 1.
Lc Defendeur est un Etat souvcrain, ayant l’adrcsse de service ei~dcssous :

Chambrc Natienale des Huissiers de Justice
Scrvice des Actes lnternatienaux

447 , rue Deuai

750009, Paris, Francc

7.

10.

INFoRMATIoNs PRELIMINAIRES

Lc 14 juin 2016 (<< la Date de la requete )>), chaque Debitcur a depose unc requete velontaire
aupres de la presente Cour pour dcmandcr unc reparation, en conferrnite avcc lc ehapitrc 11 du
Code des Ewts-Unis, 11 Code des Etats-Unis §§ 101 et suiv. (avee les amendements ulterieurs,
<< Lc Code dc 1a Faillite ))). Les informations preliminaires factuelles concernant les Debitcurs, y
compris l’eperation cemmerciale, le capital ct la structure des dcttes, et les evenements qui ont
determine le depet de cette affaire de faillitc sent prescntes en detail dans le Resume dc l’affaire.
Les Debitcurs centinuent a gerer et a conduire leurs affaircs en tant que debitcur non dcssaisi, en
cenformite avcc le Code dela faillite, sections 1107 et 1108.

Aucun administrateur ou examinatcur n’a ete designe dans l’affaire mentionnec dans le chapitre
11 ; aucune commission n’ a pas cncere ete nemmee.

REPARATIeNs DEMANDEES

Par l’intermediaire de la presente procedure centradictoirc, le Dcmandcur sellicite
l’cnregistrernent d’une decision judiciairc qui cemprenne et qui sou'tienne: (i) un jugcmcnt
declaratoire, en cenformite avcc la Regle sur la faillitc 7 001(9), conferinement auquel la France
n’a aucun interet dans les Artefacts francais (tel que le terme cst defini ci-desseus) ; ou (ii)
alternativement, unc decision, en cenfermite avee la Regle sur la faillitc 7001(2) sur la validite,
la priorite ou l’etendue dc tout interet dans les Artcfacts franeais (tel que le terme est detini ci-=
desseus).

LES ARTEFACTS DE TITANIC

Lcs Artefacts francais

.La societe en cemmandite Titanic Vcntures (<< TVLP »), un predecesseur de l’interet du

Dcmandcur (appeies collectivement << RMST >>), avcc l’assistance de l’lnstitut Franeais dc
Rechcrchc pour l’EXploitatien de la l\/ler, l’institut cceanographique du Gouverncmcnt Francais
(<< IFREMER »), ont mene unc expedition a l’epave de RMS TITANIC en 1987. A l’occasion
des 32 plengees cffectuees pendant l’expedition, TVLP a recupere un nembre approximatif de
2.100 artefacts du lieu de l’epave du navirc Titanic (<< les Artefacts francais )) ou << la Collection

 

 

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franeaise ))). TVLP a transporte les Artefacts francais en Francc, en vue de la conservation ct dc
la rcstauration,

lFREl\/LER est unc agence du gouvernemcnt francais, qui se trouve sous le centrele du Ministere
Francais dc l’Education Nationale ct du l\/linistere de l’Environnement, de l’Energie et des
Affaires Maritimes.

lFREl\/IER ct TVLP ont cenclu un contrat d’affretement qui regit leurs taehes, obligations, droits
ct benefices associes avcc l’expedition (<< le Contrat d’affretement ))),

Une copie conformc du Contrat d’affretement est jointe aux presentes en tant qu’Annexe A.

Le 20 ectobre 1993, un Administrateur du Bureau Francais des Affaires Maritimes (Ministere de
l’Equipement, du Transport et du Tourisme), en conferrnite avec le proces-verbal, a accorde ala
Societe le droit aux Artefacts franeais (<< le Proces-vcrbal )>).

Une copie conformc du Proces~verbal est jointe aux presentes en tant qu’Annexe B.

Le 22 septembre 1993, TVLP a ecrit unc lettre adressee a la Francc pour preciser les pretentions
de la societe concernant les Artcfacts francais (<< la Lettre du 22 septembre 1993 >>).

Une copie conformc de la Lettre du 22 septembre 1993 et attachee aux presentes en tant
qu’Anncxc C.

La decision dc l’Administrateur << mcntionnait durnent » des garanties formulecs par TVLP,
conformement auxquelles il << a convenu d’utiliser ces objets en conformite avec le respect du a
la memoire de leurs preprietaircs initiaux et dc ne pas dereuler des transactions commercialcs
concernant de tels objets, de ne vendrc aucun objet ct dc ne pas effectuer dc transactions qui
meneraicnt a leur dispersion, si cela n’est pas effectue en vuc d’une exposition » log 1’Anncxc
Q. Ccs garanties ont ete mentionnecs dans le Proces-verbal, mais le Proces-vcrbal a ete
incenditionncl.

En tant qu’Annexe D, vous trouverez ci~joint une << Note » pretendument issue par l’Ambassadc
Francaise, datant du 8 juillct 2016.

Les Artcfacts americains

En 1993, RMST a mene unc rccherchc supplementaire et unc expedition de recuperation a
l’epave du navirc Titanie et, le 26 aout 1993 a ete demarre une action in rem ala Cour dc District
des Etats-Unis pour le District de l’Est de Virginie (<< la Cour EDVA )>) portant sur les artefacts
recuperes a l’occasion de l’expedition de 1993 et dc 1’epave meme. Ld_.

Quelques mois plus tard, la Cour EDVA a prononce une Decision qui assumait unc competence
in rem sur les artefacts recuperes par Rl\/IST en 1993, tout comme sur 1’epave memc, et a declare
que RMST est le sauveteur-non-dessaisi de 1’epavc et du lieu de l’epave. l_d. RMST est rcste le
sauvcteur~non~dessaisi de l’epave du Titanic jusqu’auj ourd’hui

RMST a mene des operations ulterieures de sauvetage au lieu de l’epave du Titanic en 1994,
1996, 1998, 2000 ct 2004 et a recupere plus de 3.000 artefacts supplementaires (les artefacts
recuperes en 1993, 1994, 1996, 1998, 2000 ct 2004 seront nommes ci-apres << les Aitcfacts
americains » ou <<1a Colleetion americaine »). RMST a mene unc expedition de recherche
supplementaire a l’epave en 2010, mais il n’a recupere aucun artefact.

La Cour EDVA a unc competence in rem sur les Artefacts americains ; clle n’a pas dc

competence sur les Artefacts francais.

]1II.L’attributien du titre concernant les Artefacts franeais a éte inconditionnelle

25,

26.

En conformite avcc la 101 francaise, le Proces-verbal eonstituc une decision administrative
legalement applicable par laquelle lc titre legal sur les Artefacts francais a ete transfere a RMST.
Lc transfcrt du titre a RMST a ete incenditionncl.

 

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27 . Le titre visant les Artefacts francais est libre de tout privilege ou charge ; aucune partie, a
l’exeeption de RMST, n’a aucun interest legal en cc qui concerne ces artefacts
28. La Francc n’a jamais cu d’interets beneficiaires visant lcs Artefacts francais.

CHEF D’ACQUSATION l
JUGEMENT DE CLARATOIRE

29. Le Dcmandcur re-allegue et introduit les paragraphes 1-28 de la presente Plainte, tel que precise
dans cc Chef d’accusation 1.

30. Le Dcmandcur introduit le present motif a 1’cncontrc du Defendeur, demandant unc declaration
selon laquelle la France et toutcs les agenoes du Gouvcrnement Francais n’ ont aucun interet dans
les Artcfacts francais. ‘

31.11 y a unc dispute substantiellc et permanente entre le Dcmandcur ct le Defcndeur concernant 1a
validite du titre visant les Artcfacts francais ; unc declaration des droits est necessaire et
adequatc, pour etablir lc fait que la France n’a aucun interet dans les Aitcfacts francais. yp_ir
l’Anncxc D.

DEMANDE me REPARATreN
PAR CONSEQUENT, le Dcmandcur requicrt un jugement a l’encontrc du Defendeur, comme suit ‘.

(a) Un jugement declaratoire, en conferrnite avco la R`egle sur la faillitc 7001(9), conformerncnt

auquel la Francc et toutes les agences du Gouverncment Francais n’ont aucun interet dans les
Artcfacts franeais ', ou

(b) Alternativcment, une decisien, en conformite avcc 1a R`eglc sur la faillitc 7001(2), sur la validite,
la priorite ou l’etendue de tout interet de la Prance visant les Artefacts francais ', et

(c) L’octroi au Dcmandcur dc toutcs les autres reparations legales et equitables que la Cour juge
juste ct appropriees.

NELS ON MULLINS R1LEY
& SCARB ORUOUGH LLP

Par /s/ Danz`el F. Blanks

Danicl F, Blanl<s (No. Barreau de Fleride 88957)

Lee D. Wedckind, 111 (No. Barreau de Floride 670588)
50 N. Laura Street, Appartemcnt 4100

lacksonville, Floride 32202

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(904) 665~3699 (fax)
daniel.blanl<s@nelsonmullins.com
lee.cheltind@nelsonmullins.coin

Avocar du Demandeur, RMS Tz'tanz'c, Inc.

~ #4813»4833-1829 v.4 ~

 

 

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Pn`z:CE A

 

[ecriturc illi
MERNO. 87/1210589 Affaire 3:16~b1<-02230

Affairc [ecriture illisiblc] Depesee lc08/17/16 Pagc 2 de 19 [cachet]

Conseil Britannique des Transports Maritimcs,

Londres

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1. Place et date

PARIS, 24 1U1N 1987

2. Armateurs / Affreteur-transportcur /
Place d‘affaircs

IFREMER, ci-apres denommes
ARMATEURS ou IFREl\/IER

66, avenue d’IENA

7 5 1 16- PARIS

3. Nome du Navire
NADIR SURFACE VESSEL ensemble
avcc

-NAUTILE SUBl\/lERSlBLB (-6000m)
-ROBIN (ROV)

NAVIS (systeme de positiennement)

les

   
 
 
 
 
 
 
 
 
 
 
   
   
   

7 . Port ou lieu de livraison (Cl. 2(A))

  
    
   
  

TOULON LA SEYNE
9. Periodc de lever
54 jours

(FRANCE)

  

11. Limites dc negociation (Cl. 3(A))

 
 

 
 
  
  

    
   
 

L'EPAvE sr ns ne
13. Leyer (Cl. 7 (A))

 
 

     
  

VOIR ARTICLE 24

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GCEAN ATLANTIQUE NORD ET LA MER MEDITERRANPENNE OUEST
12. Emploi des Navircs limite a (indiquer 1a nature des scrviccs) (Cl. B(A) A
SUBMERSION SUR HMS T 11 ANlC AFIN DE PROMOUVOIR L‘ENQUETE DE
euren'sn res oBJE'rs r)U rirni\nc

1:18 Pl\/l; 2038888724

______'_,7_/-»-
LA CONFERENCE MARITIMB BALTIQUE ET

mrEnNArreNALs
eHAnrs-PARTLE A TEMPS nutrient/re POUR
Lns NAvrnEs ns ssnvrcs orrsHor<E
NoM ns Conn; <<rEMPs
n'APPRovrsroNNsr\/rsnr»

PAnrrs 1

j
3. Affretcur / Place d‘affaircs

OCEANIC RESEARH AND
EXPLORATION LTD

28 IRISH TOWN

GIBRALTAR

5. Datc de livraison (Cl. 2(A))
8 juillct 1987

     

6. Datc d'annulation (Cl. 2(A))
N‘EST PAS APPLICABLE

     
  
  
  
  
  
  
 
  
  

   
 
   
  

 

8. Pert ou lieu dc restitution (Cl. [e’criture
illisiblc] (A))

PORT DE FRANCE (MARTINIQUE)
10. Prolongation de 1a periode de lever

(optionnel) (Cl. 1(B))

17 jours avcc preavis ecrit donne a
IFREMER avant le 10 aout 1987

   
  
  
 

 

14. Paiement du lever (1ndiquer monnaie,
mode et lieu de paiement: [ecriture
illisiblc] et compte bancairc) (Cl. 7(A))
Francs Francais; Lettrc de credit
irrevocable en faveur d‘lFREMER

Credit Lyennais, Agencc Ligne
ENTREPRISES

 

Maritimes

Transports

des

internationale

Cenferencc
mbre 1975

la
Copenhague
Emis en dece

et

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75008 - PARIS, 55 CHAMPS ELYSEES
ACCOUN 1 Ne 2335 A

   

      
 

15. Frais de mobilisation (montant 16. Port ou lieu dc livraison (Mobilisation)
forfaitaire) (Cl. 2(B)) (Cl. 2(B))
TOULON (LA SEYNE) PRANCE

     
  

 
   
    
    

inclus
17 . Frais de demebilisatien (montant
ferfaitairc) (Cl. 2(13))

18. Nombre de jours d'avis de restitution

  
  
 

n‘est pas applicable ; voir encadre 10

 
 
  
 
 

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20. Nombre de mois [ecriture illisible] de
resiliation anticipee (Cl. ([ecriture illisible]

(D))

N'EST PAS APPLICABLE
22. Hebergement de passagers (indiquer le
tarif nominal convenu) (Cl. 9(1))
Gratuit

24. Guerre (a completcr uniquement si sons
clause (C) convenuc (Cl. 22)

VOIR ARTlCLE 13

26. Lieu de l‘arbitrage (seulement a remplir si
autre lieu que Londrcs convenuc) (Cl. 27)
LONDON '

19, Resiliation anticipee de l’affretement
(indiqucr nombre de meis dc lever a
paycr) (Cl. ([ecriture illisible] (D))

  
 
  

   
  
 
   
    
 
  
  
 
  
 
     
 

    
    

N’EST PAS APPLICABLE

21. chas (indiquer le tarif nominal
convenu) (Cl. 9(1))

Gratuit

23. Port ou lieu d’amarragc a sec (Cl. 11(0))
SANS IMPORTANCE

    

        
  
   

 

25. Sous-loucr (1ndiquer montant
d'augmentation du loycr de Charte) (Cl.
20(13))

VOIR ARTICLE 12
27. Nombrc de clauses supp
1 a 24

11 est mutucllement convenu que le present Contrat sera execute sous reserve des conditions enoncees
dans 1a Charte qui comprend la Partie 1, y compris des clauses supplementaires s1 convenu et declare
dans l'cncadre 27 ct la partie 11 ainsi que l‘annexc A et l'annexc B annexe a la presente Charte. En cas dc
conflit dc conditions, les dispositions dela Partie 1 prevaudront sur celles dela Partie 11 ct dc l'Armexe A

et dc l'Annexe B et toutes autrcs.

 

   

    

lemcntaires dispositions speciales souveraines, s1 convenu

    

   

[ecriture illisiblc]

document incerpere par rcnvoi dans le E`,n cas de conflit de conditions, les
DréS€flll dOOum@nt dispositions dc la Partie 11 et de l'Anncxe A
les dispositions de la Partie 1 et

prevaudront sur celles de l‘Annexe B

[eeriturc illisible]

 
   
   

 
    

 

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PARTIE ll

<<TEl\/£PS D‘APPROVISIONNEMENT» Charte-Partie a temps uniforme pour Les Navires de Servicc Offshore

1. Periode

(A) Les Armatcurs (ecriture illisiblc) et les Affretcurs louent le Navire decrit a l'Annexe A pour la
periode indiquee dans l‘encadre 9 a partir du moment ou le Navire est livre aux Affreteurs.

(B) Les Affreteurs ent (ecriturc illisible) sous reserve de Clause 7 (D) d'etendre la Charte en continuation
directe pour la periode indiquee dans l‘encadre 10, mais unc tclle option doit etre decidee 20 jours avant

l'expiration de la periode d‘affretement.

2. Livraison

(A) Sous reserve de la sous clause (ecriturc illisible) de la presente Clause ct dela Clause 21 de ceci, le
Navire sera delivre par les Arrnateurs et accepte par les Affreteurs entre la date indiquee dans l‘encadre
et la date indiquee dans l‘encadre (ecriture illisiblc) (ci-apres denommec date d‘annulaticn dans le port ou
le lieu indiques dans l‘encadre (ecriturc illisible) dans unc telle (ecriture illisible) ou le Navire peut
(ecriture illisiblc) que les Affreteurs peuvent diriger. Les Armateurs ne sent pas rcsponsables des retards

de livraison resultant dc grech, de lock-out ou (ecriture illisiblc) ou de contra`nte de travail, partielle ou

generalc.

Mobilisation

(B) i) Les Affreteurs paient unc somme forfaitaire au montant indique dans l‘encadre (ecriture illisible)
sans escompte par voie de frais de mobilisation en contrepartic des Armateurs qui delivre au port ou au
lieu indique dans l'Encadre (ecriturc illisible). La Charte doit etre payee a 50% au debut du voyage
jusqu‘au port dc livraison, qui doit etre non rctournable seit le Navire perdu eu non perdu et le soldc a

l‘arrivee au port de livraison.

(11) Si les Armateurs acceptent la charge de chargement et de transport du Navire et entreprenncnt tout

autre service pour les Afh'eteurs sur le trajet jusqu‘au port de livraison du port de remise, les conditions

 

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et indemnites de cette Charte-partie s'appliquent a cc chargement, transport ct / ou autre service
exactement comme s'ils avaient ete executes pendant la periode de validite de la Charte, sauf que tout
fret forfaitaire convenu a cet egard scra payable a l‘cxpedition ou au commencement du service, selon le

cas; soit le Navire ou les marchandises perdus ou non pcrdus.

anulation

(C) 131 tout moment, au plus tard sept jeurs avant la date d‘annulation indiquee dans l'Encadre 5, les
Armateurs peuvent aviscr par ecrit les Affreteurs qu'ils ne pourront pas livrer le Navire avant la date
d'annulation mais livreront le Navirc par la date qui pcut etre (ecriturc illisible). Les Affreteurs peuvent,
dans les quarante-huit heures suivant 1a reception dc cet avis, aviscr par ecrit les Armateurs d'annuler la
Charte-partic, auquel cas la presente Charte~partie prendra fin a la condition que l'autre partie soit
rcsponsablc cnvers l'autre pour les pertes encourues en raison de la non-livraison du Navirc ou
l'annulation dela Partie Chartc.

Si les Affreteurs ne dennent pas un tel preavis que la (ecriture illisiblc) l'avis du Preprietaire est substitue

a la date d'annulation pour tous les buts de la Charte~partie.
3. Emploi

A) Le Navire (ecriture illisible) doit etre employe dans des activites legales offshore restreintes a la
(ecriture illisiblc) etabli dans l‘Encadre 12 et dans voyages entre (ecriturc illisil)le) ou lieu et tout endroit
ou en mer (ecriture illisible) ou le Navire peut (ecriturc illisiblc) dans les lirnites de negeciation
indiquees dans l'Encadre (ecriture illisible) qui ne peut en aucun cas etre depassee sans accord prealable
et adaptation dc la Charte et (ecriture illisiblc) a convenir et etabli dans l‘Encadre 27. Si (ecriture
illisible) les Affretcurs ne garantisscnt pas la securite d‘un tel cndroit (ecriture illisible) mais agisscnt
avcc prudence (ecriture illisible) au Navire comme s1 le Navire etait leur propre propriete et compte tenu
dc ses capacites et de la nature de l‘emploi. Les Affretcurs seront rcsponsables de toutc perte ou

dommage subi par le Navire en raison de la condition de (ecriture illisible) ou de l'unite en mer

(offshore) .

4. Les Armatcurs a fournir

 

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(A) Les Armateurs doivcnt fournir et payer pour tous (ecriture illisible) cette partie de la Charte sent
expressemcnt payables par les Affreteurs et les frais d‘entrctien de la coque et de la machinerie du Navire

pendant son emploi.

§n_t_reticn du Navire

B) Les Armateurs (ecriture illisible) qui, pendant toutc la durec de la presente Chartc, auront (ecriture
illisible) des mesures raisonnables pour maintenir le Navire (ecriture illisiblc) la coque ct la machincrie
ou pour retablir le Navirc comme necessaire a cette fin confermement aux dispositions de Clause

(ecriture illisible).
S. Lcs Affreteurs a fournir

` Les Affreteurs fournissent et paient tous les carburants et lubrifiants et (ecriture illisiblc) de cclui-ci y
cempris les machines auxiliaircs et le combustible de cuisinc (ecriture illisible) (qu‘ils soient obligatoires
ou (ecriture illisible) en relation avcc l’entreprise des Armateurs. (ecrlture illisil)lc) taxes consulaires ces
(ecriture illisible) au Capitaine, aux Ofiiciers ct a l'Equipagc) (ecriture illisible) agences et commissions
encouru par l’Entreprise des Affreteurs frais pour la securite des gardiens, frais (ecriturc illisible) et
l'cxtcrmination de la vermine (ecriturc illisible).

Les unites offshore ou necessites par les exigences sociales ou les autorites portuaircs et toutes les
cordcs, elingues et coureurs speciaux (y compris les tuyaux d‘evacuation des cargaisens en vrac)
cffectivement utilises pour le chargement ou le dechargement. Les Affreteurs doivcnt egalemcnt feurnir
et payer (ecriture illisiblc) les droits d‘importation, y compris les couts lies a l’etablisscmcnt des frais
d'expedition temporaires ou permanents (ecriture illisible), frais de dedouanernent tant pour lc Navire
que pour l'equipement aussi special (ecriture illisible) aux plates-forrncs offshorc, cables (ecriture
illisiblc) lignes dc ressorts, elingues etc. (ecriturc illisiblc) travaux offshore tous les tuyaux de
dechargemcnt alimcntant les plates-formcs (ecriture illisible) raccords et adaptateurs de tuyaux,

bouteilles d‘oxygenc / acetylene dc recharge, (ecriture illisible) electrodes d’alimentation utilisecs pour

les travaux offshore

6. Seutcs

 

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I
;

Sauf accord contrairc, le Navire sera livre avcc des soutcs et des lubrifiants a bord et livre avcc au moins
des soutes sufiisantes pour atteindrc la prochainc etape d'avitaillement sur la route du prochain port
d'escale des Navires. Les Affreteurs au moment de 1a livraison et les Arrnatcurs au moment dela remisc
prendront la releve et paieront les seutes et les lubriiiants a bord au moment de l'installation du contrat

en cours (ecriture illisiblc) au moment dela livraison et de la remise.

7 . lLoycr

(A) Les Affreteurs paieront comme Loyer du Navire au taux indique dans l'Encadre 13 par jour ou une
partie dc celui_ci a partir du moment ou le Navire sera livre aux Affreteurs jusqu'a l'expiration ou la
resiliation anticipee de la Chartc- partie, cc loycr etant basee sur une complementaire, du Capitaine, des
Ofiiciers et de l’Equipage aux taux en vigueur a payer, Paiement du loyer sera fait en especcs dc la
maniere prescrite dans l’cncadre (ecriture illisiblc) sans cscompte, tous les 30 jours, a l'avance. Lc
(ecriture illisible) paiement a effectuer le jour dc la livraison du Navire aux Affretcurs (ecriture illisible),
dc paiement les Armateurs auront le droit de mcttre fin a la presente Charte et de rctirer le Navirc du
service des Affreteurs sans etre obliges de notcr aucune protestation ou faire une demande a aucun
tribunal ct sans autre formalite que ce soit et sans prejudice dc toutc reclamation que les Armateurs
pourraient avoir sur les Affreteurs en vertu de la Charte. Si le Navire est perdu ou absent, le loycr cesscra
a comptcr de la date ou elle a ete pcrdue. Si la date dc la perte ne peut etre etablie, le loycr sera paye a
compter de la date de la demierc declaration du Navire jusqu'a la date calculec d‘arrivee du Navire a sa
destination. Toutc loyer payee a l'avancc sera ajustee en consequence

(B) Les Armateurs ont le droit d'ajouter 1 (ecriturc illisiblc) par mois d‘interet si le loyer de la Charte

n'est pas recu 15 jours suivant la date dc paiement prevu au Clause 7 (A).

Augmentation des col'its des Armateurs

(C) En cas dc hausse des taux de l'un des Grands Ofiicicrs et de l‘Equipage (sclon les taux dc
remuneration ofticicllement negocies) prenant effet apres la date de la Charte, le taux de Loyer scra
augmente selon la formule (ecriture illisible) (1+ ecriture illisible x l`:’ (100) (ou (ecriture illisible) taux de

loyer apres augmentation) avcc (ecriture illisible) taux de loyer en vigueur au moment de l‘augmentation

 

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de salaire (01`1 P (ecriture illisiblc) augmentation en pourccntagc du cent des taux de remuneration, y
compris a cet effet les heurcs supplementaires, les primes, les gratifications, les conges, les cotisations
sociales ct les impets et tous les paiements semblablcs).

(D) Si l'option prevuc a 1a'Sous¢Cause 1 (ecriture illisiblc) est exercee, le loyer doit etre negoeiee entre
les Arrnateurs ct les Affreteurs sur la base des (ecriture illisible) mentionnes dans l'Encadre 13, mais les
changements dans les depenses des Armateurs, y compris, mais sans s'y limiter, les salaires et les frais de

fonctionnement a prendre en consideration

8. Remise

(A) Le Navire scra remis a l'expiration (ecriture illisible) resiliation de la presente Charte~partic, en sans
cargaison et dans (illisible) en ben ordre comme los de la livraison aux Affreteurs (ecriture illisible) au
port ou au lieu indique dans l'Encadre 8 ou s1 aucun lieu nomme a (ecriture illisible) un endroit libre

convenu entre les Armateurs et les Affreteurs ct a defaut d‘accord au lieu de livraison.
Demobilisation

B) Les Affreteurs paieront unc somme forfaitaire correspondant au montant indiquee dans l'Encadre 17,
a titre de demobilisation, dent le montant scra (ecriture illisible) a l'expiratien ou a la resiliation anticipee
dc la Charte et ne sera pas remboursable soit le Navire perdu ou pas perdu.

(C) Lcs Affreteurs doivcnt (par (ecriture illisible) aviscr par ecrit leur intention de rcmettre le Navirc

cenformement a l‘Encadre 18.
Resiliation anticipee dela Charte

(D) Dans le cas ou les Affretcurs abandonneraicnt toutes les operations dans les limites dc negociation
speciiiees dans l'Encadre (ecriture illisiblc) et a tout moment avant l‘expiratien de la presente Chartc, ils
pourraient resilier cette Charte en dormant moins de le nombre dc mois preavis par ecrit, comme indique
dans l ‘Encadre 20, aux Armatcurs de leur intention de resilier et ecriture illisible) aux Armateurs a cette

resiliation unc somme egale au nombre de mois de loycr indique dans l 'Encadre 19.

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Stationnement du Navire

(E) Les Affreteurs auront l’option de stationncr le l\lavire ala totalite ou a une partic dela periode dc la
Charte, auquel cas l'ordonnance dc loyer (ecriture illisible) ordre continucra d'etre payee, mais si la
periode de cette (ecriture illisible) excedc 30 jours ils seront (ecriture illisible) centre unc telle loyer
(ecriture illisible) que les Armateurs auront epargnec en raison dela reduction des depenses et (ecriture
illisible) a la suite de la statiennement du Navire (ecriture illisible) etant donne que cette periode de

stationnement (ecriture illisible) depasse 30 jours.
9. (écriture illisible)

Toute la portec, la charge et lcs ponts du Navirc seront a la disposition des Affreteurs recevant un espace
adequat et suffisant pour l’equipement du Capitaine, des Ofiiciers et de l’Equipage du Navire, (ecriturc
illisiblc) le mobilicr, les provisions et les reserves. Les Affreteurs sent autorises a transporter (ecriture

illisible) dans la mcsure ou des espaces sent disponibles et aux fins et dans le cadre des operations et

(ecriture illisible).

 

 

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PARTIB 11

<<TEMPS D'APPROVISIONNEMENT» Chaite-Partie a temps uniforme pour Les Navires de Servicc Offshorc

(1) cargaison legale, qu'il soit porte sur ou sous le pont;

(ii) cxplosifs et marchandises dangereuscs, a condition qu‘ils seient emballes et entreposes
conformement a la reglementation nationale du Navire et / ou au Code des marchandises dangereuscs
ll\/lCO ct / ou a d'autres reglements pertinents. Les Affreteurs acceptent la responsabilite de toutc
depensc supplementaire (y compris (ecriture illisible) frais) encourus par les Armateurs relativemcnt au

transport de cette cargaison.
10 Capitaine et Equipage

(A) Le Capitaine doit s'acquitter promptement de scs fonctions et le Navire doit rendrc tous les services
raisonnables, dans les limites dc ses capacites, jour et nuit, aux heures ou aux horaires que les Affreteurs
peuvent raisennablement exigcr sans obligation des Affreteurs dc payer les Armateurs ou le Capitaine,
les Officicls ou l‘Equipagc du Navire tout paiement en trop ou en heures supplementaires Lc Capitaine
est place sous les ordres des Affreteurs en cc qui concerne les agences d’cmploi et autres arrangements
et les Affretcurs doivcnt indemniser les Armatcurs centre toutes les consequences ou responsabilites
decoulant du respect de ccs ordres. Lcs Affreteurs doivcnt (écriture illisiblc) le Capitaine avcc toutcs les
instructions et les instructions dc navigation, et le Capitaine et l'lngenieur doivcnt tcnir des registrcs
complets et corrects accessiblcs aux Affretcurs ou a`leurs agents. Lc Capitaine doit signer des documents
de cargaison sous la ferme (ecriture illisible), cependant ne pas etre Factures (ecriture illisible) mais des
(ecriture illisible) qui ne sent pas documents negociables et doivcnt etre marques comme tels.

Les Affreteurs doivcnt indemniser les Arrnatcurs centre toutes les consequences et (ecriture illisible) du
Capitainc, des Ofiiciers ou des agents qui signcnt sous la direction des Affretcurs les documents de
cargaison ou autres documents incompatibles avcc cette Charte-panic ou toutc irregularite dans les
documents fournis par les Affreteurs ou leurs agents

(B) L'Equipage du Navire, s‘il est requis par les Affreteurs, connecte ct deconnecte (ecriture illisible) eau

les tuyaux pneumatiques lorsqu'ils sent places a bord du Navire au port ainsi qu'aux unites offshore,

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exploitcront les machines a bord du Navire pour le chargement et dechargcr des cargaisons, ct echarpe et
accroehe la cargaison au cours du chargement ou de dechargement aux cetes d‘unites en mer. Si la
reglemcntation portuaire des marins et / ou des syndicate ne permet pas a lEquipage ou au Navire
d'effcctuer une quclconque de ccs operations, les Affreteurs prendront a leurs frais tout autre
arrangement necessaire sons la direction du Capitaine.

(C) Si les Affreteurs ont des raisons d‘etre insatisfaits de la conduitc du Capitaine ou de tout Autre
lngenieur ou membre de l'Equipage, les Armateurs et le Capitaine sur reception des details .de cette
plainte doivcnt rapidement enqueter sur la question et si, a leur avis, est necessaire (ecriture illisible)

faire un changement dans la nomination

11. Suspension du loycr

(A) Si, a la suite d’une faute de l'Equipage ou du Proprietaire (ecriture illisible) dela greve du Capitaine,
des Ofiiciers et dc l‘Equipage (ecriture illisible) de machines, dc demmages a la coque ou a toutc autre
(ecriture illisible), le Navire est empeche de travaillcr pendant unc periode de plus de 48 heures
consecutives, le loyer sera payable au titre dc la perte de temps excedant 48 heurcs et toutc loyer payee a
l‘avance scra ajustee en consequence, toutefois, cette loyer ne cesscra pas si le Navirc est empeche de
travaillcr comme (ecriturc illisible) a la suite dec

(i) le transport de marchandises dangereuses

(ii) quarantaine ou le risquc de misc en quarantaine, a moins cause par le Capitaine, les Officiers ou
l'Equipagc ayant communication avcc le rivage dans une Zone infectec non reliec a l‘emploi du Navire et
sans le consentement ou les instructions des Affretcurs;

(111) derogation a scs obligations en vertu de la Charte ou unc exposition a des risques anormaux a la
demande des Affretcurs;

(iv) travaillant aux cetes ou a proximite de toutc unite offshore, a condition qu'il n‘y ait pas cu grossier
(ecriture illisible) du devoir dela part du Capitainc, des Ofiicicrs ou de l‘Equipage du Navirc;

(v) detention suite a l'entree dane le port ou (ecriture illisible) ou (ecriture illisible) dans les ports peu
profonds ou a (ecriture illisible) d‘un accident dc sa cargaison lorsque les frais resultant de cette (ecriturc
illisiblc) seront pour le compte des Affreteurs, quelle qu‘en soit-la cause;

(vi) tout acte d'omission des Affreteurs, de leurs prepeses ou agents;

(vii) (ecriture illisiblc) des dommach causes par la glace.

 

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Responsabilite pour le Navire ne fonctionnant pas

(C) Le Navire doit etre amarre a sec a des intervalles reguliers pour etre convenu d’un commun accord et
tous les frais (ecriture illisible) encourus et lc carburant consomrne pendant la periode d'amarrage a sec
pour le compte du Proprietaire. Les Affreteurs doivent mcttre le Navire a la disposition du Proprietairc
sans cargaisen, au port ou a l‘endroit designe a la Encadre 13 ou au port le plus preche approprie a cet
cffet. Le Navire doit etre en mer, a moins que le temps plcin pcrmis dans la Clause (ecriture illisiblc) ne
soit pas utilise a partir du moment de l’arrivee au port d‘amarragc (ecriture illisible) sans cargaison ct
restera en loycr jusqu'a ce qu'il soit pret a reprcndre le service des Affreteurs a l‘endroit ou la periode de

detachement a commence
(ecriture illisible)

(D) (e’criture illisible) de la presente Clause, les Affreteurs accorderont aux Armateurs un maximum de
24 heurcs de loyer qui (ecriture illisible), y compris amarragc a sec (ecriture illisible) fonctions des
Armatcurs en vertu de la Clause (ecn`ture illisible). Toute temps accumulee (ecriture illisible) reparation

sauvee mais non utilisee doit etre payee aux Affreteurs (ecriture illisible) et tout soldc au moment de la

remisc (ecriturc illisible).

13. Pieces exclucs
(A) Le Navire ne doit pas etre commande ni lie (ecriture illisible) sans l‘autorisation ecrite des

Armateurs: a) tout cndroit ou la fievre ou les epidemies sent repandues ou auxquelles le Capitaine, les
Ofiicicrs et les membres d'Equipage ne sent pas tenus par la loi de suivre le Navire; B) tout endreit glace
ou tout endroit ou lumiercs (ecriture illisible), des marques ct des bouees sent ou sent susceptibles d'etre
retires en raison de la glace a l'arrivee du Navire ou lorsque lc Navire risquc normalement dc ne pas
pouvoir en raison de la glace pour atteindrc le lieu ou de sortir apres avoir terrnine ses operations Le
Navire n‘est pas oblige dc fercer la glace, ni dc suivre le brisc~glace. Si, a cause dela glacc, le Capitaine
jugc dangereux de rester dans le lieu de chargcment ou dc dechargement par crainte que le Navire ne soit

gele et / ou endommage, il a la liberte dc naviguer dans un endreit convcnable et d'attcndre les nouvelles

instructions des Affreteurs.

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(B) Si le Navirc, avcc ou sans l‘autorisation du Proprietaire, entre dans le lieu mentionne seus Sous
Clause (A) de la presente Clause, les Affreteurs seront rcsponsables et indemniseront les Armateurs dc
toute perte de la vie ct aux blessures personnelles du Capitaine du Proprietaire, de l'l3quipage, des
preposes et des autres persennes dans le Navire, ce qui entraine unc responsabilite legale dc la part des

Armateurs, quelle que soit la cause ou 1a consequence de l'entree dans cc lieu.

12. Remorquage. Manipulation d‘Ancre

(A) }-\ la livraison, le Navire sera equipe aux frais du Proprietaire des equipements decrits a l‘Annexe B.
Si, pendant la periode dc la Charte, ces equipements sent endommages et inutilisables pendant les
operations, les Affreteurs les remplacent a leurs nais.

(B) Tout remorquage cffectue par le Navire pour les Affreteurs sera assujetti aux Conditions dc

remerquagc standard du Royaumc~Uni.
15. Responsabilites ct exceptions des Armateurs

(A) Les Armateurs sent rcsponsables envers les Affreteurs des pertes ou des dommagcs subis par les
Affreteurs en raison d‘un manque de diligence de la part des Armateurs pour rendrc le Navire en etat de
navigabilite et aptc a scs fonctions en vertu de la Charte, mais la responsabilite des Armateurs 14 l'egard
de toutc non-execution par le Navire de scs fonctions en vertu dela Charte se limitera a la suspension du
loyer. Les Armateurs nc seront pas rcsponsables envers les Affreteurs ou les Entrepreneurs des
Affreteurs au titre de'.

(i) toutc perte de vie, blessure, perte ou dommage a un passager ou a toutc autre personnc (a l'exclusion
du Capitaine ou d‘un Officier ou d‘un membre de l‘Equipagc du Navire) a bord du Navire ala demande
ou avcc la connaissancc ou le consentemcnt de Les Affreteurs ou toutc perte ou dommage cause a la
cargaison, que|le qu‘en soit la cause, meme si cette perte de vic, de blessure, de perte ou dc dommage est
due a tout acte ou omission du Capitaine ou de tout Officicr ou membre de l'l§quipage du Navire;

(ii) toutc peitc ou dommage cause aux unites en mcr, directes ou indirectcs, y compris, mais non limite a

unc perte consecutive, ou;

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(iii) tout deversement reel ou potentiel, (ecriture illisible) et/ ou omission de tout polluant survenu dans
le site offshore et toutc pollution qui en resultcrait, si tel est le cas;

(iv) toutc perte de vie, de blessure, de perte ou de dommage cause a unc personnc sur ou a proximite
d’unites en mcr, a meins qu'elle ne soit due uniquement a un acte negligent ou a unc omission du
Capitaine ou de tout Officicr ou membre de l’Equipage du Navire seulemcnt dans le cours des travaux
qui seraicnt normalement effectues par l'Equipage du Navire;

(v) perte, dommage ou retard resultant de greves, de lock-out ou d'arréts ou de contraintes de travail (y

compris le Capitaine, les foiciers et l'Equipage), qu'ils soient partiels ou generaux.
Rcsponsabilites des Affreteurs

(B) Les Affreteurs seront rcsponsables dcs pertcs ou dommages causes au Navire ou aux Armateurs;

(i) par des marchandiscs verrouillees contrairement aux dispositions de la Charte ou par un avitaillement
abusif ou negligent ou conduisant, arrimant ou dechargeant les marchandises;

(11) par un acte ou une omission inapproprie ou negligent dc leur part ou de celui de leurs preposes ou
agents;

(iii) par un acte ou unc omission inapproprie ou negligent de tout membre passager de l'Equipagc d‘unc
unite en mer ou d’une autre personnc (qui n‘est pas le Capitaine ou un Of'iicier ou un membre de
l‘Equipagc du Navire) a bord du Navire a la demande ou avcc la connaissancc ou le consentement des
Affreteurs;

(iv) en raison d‘un deversement reel ou potenticl (ecriture illisible) ct/ ou de l'emission de tout polluant
survenu dans l'offshore (ecriture illisible) et de toutc pollution qui en resulte, et ce, sans s‘y limiter Le
cout des mesurcs raisonnablement necessaires pour prevcnir ou attenuer les dommages causes par la

pollution
Indemnités des Affreteurs

(C) Les Affreteurs doivcnt indemniser les Armateurs centre toutc responsabilite (y compris les frais ct
depens) a l'egard de toutc perte de vie, blessure, dommage ou autre perte a la personnc ou aux
marchandiscs, quelle qu'en soit la cause, memc s1 causec par la negligence ou la faute des preposes et

mandataircs des Armateurs pour:

 

 

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(i) tout tierce partie possedant ou ayant un interet dans unc unite en mer;

(ii) tout tierce partie a l'egard des marchandises transportees par le Navire',

(iii) toutc tierce partie resultant d‘une emission reelle ou potentielle (ecriture illisible) et / ou d‘emission
de tout pelluant, quellc qu‘en soit la causc, survenu dans l‘offshore (ecriture illisiblc) ct toutc pollution
qui en resulte, quclle qu‘en soit la causc',

(iv) tout passager ou toutc autre personnc (a l‘exclusion du Capitaine ou d‘un Ofiicier ou d‘un membre de
l‘Equipage du Navire) a herd du Navire a la demande ou a la connaissancc ou au consentcmcnt des
Affreteurs',

(v) toutc autre personnc a proximite de l’unite offshore fournie (ecriture illisiblc) dela presente Charte ne
scra pas (ecriture illisible) de quclque maniere que ce soit diminuer les rcsponsabilites des Affreteurs en
sa qualite de proprietaire (ecriture illisible) d’une telle unite a mer ou a toutc autre capacite que eelle des

Affreteurs du Navire.
Responsabilite du Capitaine, des Ofiicicrs ct de l'}'§quipag§

(Ecriture illisiblc) Navire ne doit en aucun cas (ecriturc illisiblc)

 

 

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PARTIE 11

;<TEl\/IPS D'APPROVISIONNEMENF» Charte-Partie a temps uniformc pour Lcs Navires de Service Offshore

aux Armateurs ou auxquels les Armateurs ont droit doit egalemcnt (ecriture illisible) protegcr le
Capitaine et l'l§`.quipage du Navire agissant comme susdit pour l'application du present Clause. Les
Arma teurs sent et sent reputes agir en qualite d‘agent pour le compte et pour (ecriturc illisiblc) du
Capitaine et de l‘Equipage du Navire (ecriture illisible) d‘e trc parties au contrat contenu dans la Charte-
partiec ctlcs Affretcurs convicnnent a ne (ecriture illisible) toutc procedure centre eu xa l'egard de ces

questions

16. (ecriture illisible) pour aider

Le Navire a le droit, a tout moment, d'aider Navires et autres (ecriturc illisible) aux fins de sauver des
vics ou des preprietes et, a cette iin, d‘appeler dans un ou plusieurs ports pour le car rburant et / ou d autres

fournitures et pour transporter du frct sur et/ ou sous le pont.

17. Sauvctage
Sous reserve de la (ecriture illisible)

L‘assistance a d'autres Navires doit etre (ecriture illisible)
18. Aide aux Affreteurs (ecriturc illisiblc)

(Ecriture illisible) toutc autre disposition contenuc dans la presente Charte (ec1iture illisible)

Lc consentcment des Arrnatcurs pour aider toutc (ecriture illisible) unite en detresse possedee par ou
(ecriture illisible) les Affreteurs (eoriture illisible) le Capitaine, les Ofiiciers ou l’Equipagc

(1) Les Affreteurs seront rcsponsables et indemniseront les Armateurs des paiements cffectues en vertu

de tout (ecriture illisible) droit au Capitaine et a l‘Equipage en (ecriture illisible) de cette assistance;

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(ii) Les Affreteurs seront rcsponsables et rembourscront les Armateurs pour toutc perte ou dommage
(ecriture illisible) par le Navire ou son equipement en raison de l'assistancc et paieront egalemcnt les
depenses du Proprietaire;

(iii) Les Affreteurs seront rcsponsables de tout deversement reel ou potentiel, (ecriture illisiblc) ct / ou
emission de tout polluant, qucllc qu‘en soit la causc, survcnant au sein de l’offshorc (ecriture illisiblc) ct
toutc pollution qui en resultcra de la o 1`1 jamais il peut (ecriture illisible) y compris, mais sans s‘y
limiter, le cout des mesures raisonnablcs et necessaires pour prevenir ou attenuer les dommages causes
par la pollution ct les Affreteurs doivcnt indemniser les Armateurs centre toutc responsabilite, cout ou
(ecriture illisiblc) decoulant de ce deversement reel ou potentiel (ecriturc illisible) et/ ou emission

(iv) Le Navire ne doit pas etre hors-loyer ala suite d’une telle assistance ou (ecriture illisible) ne doit pas
comptcr sur le temps accorde en vertu de Sous Clause (D) ou de la Clause ll.

(v) Lcs Affreteurs doivcnt indemniser les Armateurs centre toutc responsabilite, cout ct/ ou frais relatifs
a toutc perte de vie, blessure, dommage ou autre perte a la personnc ou aux marchandises causes par

cette assistance

19. Droit de gage

Les Armateurs auront (ecriture illisible) sur toutes les cargaisons pour toutes les reclamations centre les
Affreteurs en vertu de la presente Charte et les Af&eteurs auront un (ecriture illisible) sur le Navire pour
tous (ecriture illisible) a l'avancc et non gagne.

Lcs Affreteurs (ecriture illisible) a continuer tout droit de gage ou (ecriture illisible) qu'ils auront subi ou
qu'ils pourraient avoir (ecriturc illisible) des Armateurs sur le Navire.

Lcs Affreteurs indemnisent et tiennent les Armateurs indemncs dc tout droit de gage ou de quclquc
(ecriture illisiblc) qui survienne sur le Navire pendant la periode dc la Charte alors qu'clle est sous le
contrele des Affreteurs et centre toutc reclamation centre les Armateurs decoulant de l'exploitation du
Navire par les Affreteurs ou de toutc negligence des Affretcurs vis-a~vis du Navire ou de son
exploitation Si le Navire est arrete en raison de reclamations (ecriture illisible) decoulant de son
operation aux termes des presentes par les Affretcurs, les Affretcurs prendront a leurs frais toutes les
raisennables (ecriture illisible) pour s'assurer que dans un delai raisonnable le Navire est libere et a leurs

proprcs frais mis en liberte sous caution pour assurer la liberation du Navirc.

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20. Sous-loucr

(A) Les Affreteurs doivcnt avoir la (ecriture illisiblc) de sous-leuer le Navire a toutc (ecriture illisible)
avcc les Armatcurs, sous reserve de l'approbation prealablc du Proprietaire qui ne doit pas etre rcfusee
sans raison valable. (T§,criture illisible) aux Armatcurs, mais les Affreteurs originaux demeurent touj ours
rcsponsables envers les Armateurs pour l‘cxecution de la Charte et les entrepreneurs de la personnc ou dc
la compagnie (écriture illisible), cette sous-louer est reputee etre des Entrcprcneurs des Affreteurs a
toutes fins de la presente Charte. Les Armatcurs en font unc condition (ecriturc illisible) que le loycr
supplementaire sera paye comme convenu entre les Affreteurs ct les Armateurs en tenant compte de la
nature et du service (ecriture illisible) du Navire.

(B) Si le Navire est sous-lone ou pret a entreprendre (ecriture illisible) l'ancre (ecriture illisible) et des
operations de remorquage liecs a un equipement autre (ecriture illisiblc) par les Affreteurs qu'un ecrit
quotidien (ecriture illisible) a la Charte (ecriturc illisible) dans le montant indique a l'Encadre 25 ou

(ecriturc illisible) deit etre (ecriture illisible) pour ces operations jusqu‘au rctour aux fonctions normales

pour les Affreteurs.
21. Remplacemcnt du Navire

(Ecriture illisible) a tout moment avant la date (ecriture illisible) pendant la periode de la Charte afin de

remplacer le Navire nomrne a l'Encadre (ecriturc illisible) par unc autre Navire ou equipement (ecriture

illisible).
22. Guerre

(A) Le Navire, a moins que le consentcment des Armateurs ne soit (ecriture illisible) de ne pas etre
ordonne, ni continuer a un endroit ou sur un voyagc, ni etre utilise sur un service qui l'amencra dans une
Zone qui est dangereuse en raison des actes de guerre, des hostilites de guerrc, des actes de guerrc, des
actes dc piraterie ou dhostilite ou de malveillance (ecriture illisible) centre ce ou tout autre Navire ou sa
cargaison par une personne, un corps ou un litat, quelle que soit un revolution, une gucrre civile, un

agitation civile ou un application du droit international, ni etre expose, dans unc guerre, a des sanctions

 

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(ecriture illisiblc) par suite dc l'irnposition dc sanctions, ni porter des marchandises qui pourraient de
quelquc manierc que ce soit (ecriture illisiblc) a toutcs risques dc (ecriturc illisiblc) capture, penalites ou
toutc ingerence (ecriture illisiblc) de quelquc nature que cc soit du belligerant ou des combattants
(ecriturc illisiblc) ou des parties ou par tout gouvernement ou souverain.

(B) Si le Navire approchc ou pcut etre amene ou ordenne dans une telle zone (ecriture illisiblc) de
quelquc maniere que ce soit aux risques mcntionnes (l), lcs Armateurs (ecriture illisiblc) dc temps en
temps pour assurer (ecriture illisiblc) au Navire (ecriture illisiblc) les risques susceptibles d‘etre
impliques ainsi (ecriture illisiblc) les Affreteurs de faire un retour aux Armateurs (ecriture illisiblc) sur
demande et (2) (ecriture illisiblc) pour toutc perte de temps, y compris (ecriture illisiblc) perdu en raison
dc 1a perte ou des blessures au Capitaine, aux Ofiiciers ou a l'Equipage ou (ecriture illisiblc) se rendcnt
dans cette zone ou sent exposes a de tels risques.

(C) En cas dc (ecriture (1llisiblc) du Capitaine, d'Ofiiciers et / ou d'l3qu1page ou le cout des provisions et
/ ou des provisions (ecriture illisiblc) pont et / ou (ecriture illisiblc) et / ou les primcs d'assurancc sont
augmentees en raison ou pendant l'assistance de l'unc des questions mentionnecs a ~Sous Clause (A)
(ecriture illisiblc) a ajouter au loyer et paye par les affretcurs (ecriture illisiblc) Compte tcnu dc cc
compte etant (ecriture illisiblc) mcnsuelle.

D) Lc Navire doivc avoir la liberte de se conformer aux ordres ou instructions de depart, d'arrivee
(ecriture illisiblc) que ce soit donnec par le Gouvernemcnt (ecriture illisiblc) ou toutc autre (ecriturc
illisiblc) agissant ou pretendant d'agir avcc l'autorite d‘un tel gouvernement ou d‘une commission ou
d’une personnc (ecriture illisiblc) d'assurance sur le Navire le droit de donner dc telles ordres ou
instructions

(E) Dans le cas ou la nation sous pavillen duquel le Navire naviguc (ecriturc illisiblc) dans des hostilites
dc guerre, des operations guerrieres, unc revolution ou unc agitation civile et si par consequent le Navire
est empeche dc remplir ses fonctions en vertu dc la Charte, le Proprietaire et les Affretcurs peuvent
annulcr la Charte et, sauf convention contraire, le Navire est remis aux Armateurs au port ou a la
destination ou, s'ils sent empeches par lcs dispositions de Sous Clause A de l‘atteindre ou (ecriture
illisiblc) a un port presque ouvert et sur de l‘option des Armateurs apres le dechargement de toutc
cargaison a bord.

(F) Si, conformement aux dispositions de la presente Clause, quelquc chose est fait ou n‘est pas fait, ne

pas etre considere comme un ecart.

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`“l‘ Sous Clause (ecriture illisiblc) est facultative ct dcvrait etre consideree comme supprimee, a moins

d‘etre cenvenue conformement a l‘Encadre 24.

23. Moycnne generale

General l\/loyennc a ajuster sclon les reglcs de Yorl<-Anvcrs 1974. Leyer a ne pas contribuer a la

moyenne generale.

24. Clause de la responsabilite partagée en cas d'abordagc

Si le Navire entre en collision avec un autre Navire ala suite de la negligence de l'autre Navire et de tout

actc, negligence ou (ecriturc illisiblc) du Capitaine, du navigateur, du pilote ou des preposes des
emniscnt les Armateurs centre

Armateurs a (ecriturc illisiblc) la gestion du Navire, Lcs Affreteurs ind

toutc perte ou responsabilite e l'egard de l‘autre (ecriture illisiblc) ou de scs Armatcurs dans la mcsure ou

e rcprescnte une perte ou un dommage ou une reclamation quelconque des

cette perte ou responsabilit
ansportee en vertu de la presente Charte payee ou payable par l‘autre

Armateurs dc marchandises tr
Aimateurs (ecriturc illisiblc) des marchandises (ecriture illisiblc) ou

recuperec par l‘autre Navire ou le navirc non perteur (ecriture illisiblc) Ses Armateurs dans le cadre dc

Navire ou par ses Armatcurs aux

lcur reclamation centre le Navire ou les Armateurs. Les dispositions qui precedent s'appliquent

egalemcnt lorsque les Armatcurs exploitants ou les rcsponsables d‘un Navire ou d‘un Navire ou d‘objets

autres que (ecriture illisiblc) en plus des Navires en collision ou des objets sent (ecriture illisiblc) d‘une

collision ou d‘un contrat,

25. Modiiicaticns structurclles

Les Affreteurs auront l’option de faire a leurs frais des modifications structurelles au Navire avcc le

des Armateurs, mais a moins qu‘il n‘cn soit convenu autremcnt, le Navire doit etre

conscntement ecrit
remis reintegre a son etat d‘origine. Le Navire doit rcster (ecriture illisiblc) p
nt en aucun cas rcsponsables des consequences

endant toutc periode de ces

modifications ou retablisscrnent, Les Armateurs ne sero

decoulant des Affreteurs qui ont effectue unc telle modification ou retablissement.

 

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26. Definitions

~1 L'unite a mer (offshore) est deiinie, aux fms de la presente Charte, comme un Navire, unc installation
au large, unc structure et/ ou unc unite mobile utilise pour l‘exploration, l'exploitation eula production
en mer.

nOffshorc (ecriture illisiblc) '1 est deiini, aux fins de la presente Charte, comme la zone situee a moins
dc trois miles nautiques d‘une unite offshore a partir de laquelle les Arrnatcurs sent pries de prendre lcur

Navire par les Affreteurs.
27 . Arbitrage

La presente Charte scra regic par la loi anglaise et tout litige decoulant de la presente Charte sera
(ecriture illisiblc) l'Arbitre designe par les Armateurs et les Affreteurs (ecriture illisiblc) et au cas ou les
Arbitrcs ne (ecriture illisiblc) est la decision d‘un luge-arbitrc d‘etrc nommee par eux (ecriture illisiblc),
les Arbitres ou le inge-arbitre pour etre definitif et s'appliquer obligatoirement a les deux (ecriturc

maine

 

 

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Entretien du Navir§

(B) Les Armateurs s‘engagcnt a ce que pendant toutc la durec de la presente Charte ils prenncnt toutcs
les mesures raisonnables pour maintenir lc Navire en etat d’cfficacite de la coque et les machines ou pour

retablir le Navire dans cet etat.

(C) Les Armateurs doivcnt egalemcnt fournir ct payer tous les combustibles et lubriiiants ct leur
transport (y compris les machines auxiliaires et le combustible dc cuisine), l‘eau, les frais portuaircs, le
pilotage et les bateliers (obligatoircs ou non), les timoniers, les cotisations lumiere, le ballast solidc,
l‘assistance au remorqucur, les frais dc consulat, les rcdcvances portuaires ct autres cotisations et
redevances, l'octroi de mer, les dreits portuaires et de tonnage aux ports dc livraison et de restitutien, les
couts des agences et les frais de commission de securite ou d‘autres gardiens, les frais de fumigation (y
compris deratisation et cxtermination dela vermine) et de quarantainc (si occasionnec par la nature dela
cargaison transportee ou du port visite pendant l'emploi en vertu dela presente Charte). Les Annateurs
doivcnt egalemcnt fournir et payer lc chargcment ct le dechargement des cargaisons, a l'exception des
objets vises a l'articlc 21 et pour tout le calage necessaire, les montants et l'equipement d'etayagc pour 1a
securite des marchandises portuaires, tous les cordages (a l'cxclusion dc ceux requis pour les besoins
ordinaires du Navire, l'amarrage a cete du port, mais y compris ceux qui sent necessaires pour assurer
l‘acces aux unites en mer ou qui sent necessaires par suite d'exigences speciales des autorites portuaires)
ainsi que toutes les cordcs, elingucs et ceureurs speciaux (y compris les tuyaux d’evacuation des
cargaisons en vrac) effectivemcnt utilisee pour le chargcment et le dechargement Lcs Armateurs doivcnt
egalemcnt fournir et payer pour les droits de douane, permis, droits a l'importation y compris le cout de
l‘etablissement des obligations temporaircs ou permanentes d'importation, les frais de dedouanemcnt
pour le Navire et / ou l'equipement, sauf pour les objets vises de la clause 21 , ainsi que des ligncs
d'amarrage speciales pour les plateformes offshore, les vires, les nylons, les lignes de ressorts, les
elingues etc utilises pour les travaux offshore avcc raccords et adaptateurs de tuyaux, recharger les

boutcilles d‘oxygenc / acetylene et les electrodes d'alimentation pour les travaux au large.

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5, SOUTES ET LUCRICANTS

Lcs Armateurs sent rcsponsables de la fourniture et du paiement de tous les soutes et lubrifiants.

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Le Navire sera restitue a l'expiration de la presente Charte-Partic.

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7 . L'ESPACE DU NAVIRE

Toute la portee, la charge et les ponts du Navire seront a la disposition des Affretcurs en reservant un
espace adequat ct suffisant pour le Capitaine du Navire, les Ofiiciers, l'Equipagc, l'equipement, les
veternents, le mobilier, les provisions et les reserves Lcs Affreteurs auront le droit de porter, dans la

mcsure ou des espaces sent disponiblcs et a leurs fins dans le cadre de leurs operations:

(1) Dcs passagers, y compris des equipes de television et de teurnage, et, a ces fins, utiliser le logement
disponible du Navire qui n‘est pas utilise pendant le voyage par le Navire et l'l3quipage. Lcs Armateurs

doivcnt fournir les dispositions et les conditions appropriees pour ces passagers.
ii) Dcs marchandises legales transportees sur ou sous pont.

111) Dcs explosifs et marchandises dangereuses, a condition qu'ils soient emballes et arrimes
conformement a la reglcmentation nationale du Navire et / ou au Code des marchandises dangereuses
lMCO ct/ ou a d‘autres reglcments pertinents. Les Affreteurs acceptent responsabilite de toutc depense
supplementaire (y compris les frais de remisc en etat) encourus par les Armateurs en ce qui concerne le

transport dc cette cargaison

(1v) Les PROPRlETAlRES doivcnt permettre aux passagers, y compris le personnel de tournage ou

television, de se deplacer a bord du ”Nautile”, mais ces passagers seront transportes a leurs proprcs

risques ct soumis a unc evaluation medicale satisfaisante.

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s. CAPITAINE sr EOUIPAGE

(A) Le Capitaine doit s'acquitter promptement de ses fonctions ct le Navire doit rendrc tous les services
raisonnablcs qui sent a sa portee, jour et nuit, aux heurcs et aux horaires que les Afii:etcurs peuvent
raisonnablement exiger sans obligation des Affreteurs dc payer les Armateurs ou le Capitaine, les
Ofiiciels ou l'Equipage du Navire tout paiement en trop ou en hcures supplementaires Sous reserve de
l'article 18.2 ci-apres, le Capitaine est place sous les ordres des Affretcurs en cc qui concerne les agences
d’emploi et autres arrangements Le Capitaine et l‘lngenieur doivcnt tenir des registres complets et

corrects accessibles aux Affreteurs ou a leurs agents Le Capitaine doit signer des documents de

cargaison sous la formc presentec.

(B) Si les Affreteurs ont des raisons d’etre insatisfaits de la conduitc du Capitaine ou dc tout Officier,
lngenieur ou membre de l'l3quipage, les Armateurs et le Capitaine en recevant les details de la plainte

doivcnt rapidement cnqueter sur la question et, s‘ils estiment il est necessaire et faisablc de faire un

changement dans la nomination

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Aux fins dc la presente clause, les Affreteurs traitent uniquement avcc le representant principal des
Armateurs en mer et les Arrnateurs mettent en ocuvre les souhaits des Affreteurs concernant le Capitaine,

l‘lngenicur et l'Equipage en relation _avec cette clause.

9. DsRoUTEMENr 21 Assrs'rsu

Lc Navire a le droit, en tout temps, d‘aider les Navircs et autres biens en detresse, a se departir pour
sauver des vics ou des biens et, a cette fin, de faire escale dans un port ou ports pour combustible et/ ou

et de transporter du fret sur ou sous le pont. Cc deroutement est considere comme unc periode dc loyer.

10_._SAUVETAGE

_________-_---'

Tous les travaux de sauvetage (autres que ceux prevus et decoulant des activites decrites a l’Encadre 12)
ct l‘assistance a d‘autres Navircs sent a l’avantage egal des Arrnateurs et des Affreteurs apres deduction

dc la proportion du Capitaine ct de l'Equipagc et toutes lcs depenses legales et autres, y compris le loyer

 

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paye en vertu de la Charte pour le temps perdu dans le sauvetage, les reparations des dommages ct du
petrole censemme. Lcs Affreteurs sont tenus par toutes les mesurcs prises par les Armateurs aiin de
garantir le paiement du sauvetage et de fixer leur montant Lcs Affreteurs convicnnent et s'ils en ont lc
contrele, doivcnt fait en sorte que toutc l'aide de sauvetage a moins que des conditions alternatives ne

soient convenues avcc les proprietaires, sera selon les modalites du formulaire ouvert dc Lleyd “Pas dc

resultat - pas de paiement".

Les Arrnateurs indemnisent et tiennent a couvert les Affreteurs dc toutc reclamation pour sauvetage faite

par le Capitaine, tout prepose de l‘Equipagc ou agent d’Armateur. En cas de cenflit entre cette clause et

la clause 21, cellc-ci prevaudra.

11. PRIvlLi`sGE

Les Armateurs ont un privilege sur toutes les cargaisons pour toutes les reclamations centre les

Affreteurs en vertu de la presente Charte et les Affretcurs ont un privilege sur lc Navire pour toutes les
semmes payees a l'avancc et non gagne, Affreteurs ne seuffrira pas, ne pcrrnettcnt pas dc continuer
toutes privileges ou charges encourus par eux ou leurs agents, qui pourraient avoir priorite sur le titre et

les interets des Armateurs dans le batiment.

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Les Affretcurs doivcnt indemniser ct tenir les Armateurs a convert centre tout privilege ou toutc

autre nature decoulant du Navire pendant la periode de la Charte alors qu‘ellc est sous le contrc“)le des

Affreteurs et centre toutc reclamation centre les Armateurs decoulant dc l'exploitation du Vassal par les

Affreteurs ou de tout negligence des Affreteurs en relation au Navire ou a son exploitation Si le Vassal
est arrete en raison de reclamations ou de privileges decoulant de son exploitation par les Affreteurs, les
Afii:eteurs prendront a leurs propres frais toutes les mesurcs raisonnables pour obtenir que, dans un delai

raisonnable, le Navire soit libere ct a ses propres frais, securite du Navire.

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Sous reserve de l'apprebation ecrite prealable des Armateurs, les Affreteurs sent autorises a sous-leuer le

navire a toute personne eu compagnie n'etant pas en concurrence avec les Armateurs.

_;_;,;_1 GUERRE

(A) Le Navire, a moins que le censentement des Armateurs ne soit obtenu d'abord, ne deit pas etre
commande, ni continue a un endreit ou un veyage, ni etre utilise sur aucun service qui la conduira dans
une zone qui est dangereuse a la suite des faites de guerre, de guerre, d'hostilites, des operations de
guerre, d‘actes de piraterie ou d'hestilite ou d'atteintes malveillantes centre ceci eu de tout autre Navire
ou de sa cargaison par une personne, un erganisme ou un Etat quelconque, revolution, guerre civile,
agitation pepulaire ou l’eperatien du dreit international, ni etre expose de quelquc maniere que ce soit a

des risques ou a des sanctions quelconques consecutifs a l'impesitien de sanctions

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(B) Si, a la suite de ces actes eu operations de guerre sous mentionnes, le navire est empeche d'exercer

ses fonctiens en vertu de la presente partie, les Armateurs et les Afl:`reteurs peuvent annuler la Charte et,

sauf convention contraire, le Navire deit etre renveye a Les Armateurs dans le port de restitution detini

dans l’encadre 8.

Les Arrnateurs ne seront pas rcsponsables des consequences de cette resiliation anticipee de la Charte et

le lever de Charte totale detinie dans l’encadre 13 sera verse auX Armateurs.

14. MOYENNE GENERALE

Meyenne generale a ajuster selon les Regles d’Yerk et d’Anvers, 1974. Leyer a ne pas contribuer a la

Meyenne Generale.

15. CLAUSE DE LA RESPONSABILITE PARTAGEE EN CAS D’AB'ORDAGE

 

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Si le Navire entre en collision avec un autre navire en raison de la negligence de l'autre navirc et de tout
acte, negligence eu defaut du Capitaine, du marin, du pilote ou des preposes des Armateurs dans la
navigation ou la gestien du Navire, les Affreteurs indemnisent les Armateurs centre teute perte eu
responsabilite envers l’autre ou navire non perteur eu sen Armateurs dans la mesure ou cette perte ou
responsabilite represente la perte ou le dommage ou teute reclamation quelconque des Armateurs de
marchandises transportees en vertu de la presente Charte payes ou payables par l‘autre ou navire non
perteur ou par sen Armateurs auX Armateurs desdits biens et cempensation, recuperes ou recouvres par
l‘autre eu navire non perteur ou par ses Armateurs dans le cadre de leur reclamation centre le Navire ou
le Navire Les Armateurs. Les dispositions qui precedent s'appliquent egalement lorsque les Armateurs,
les exploitants ou les rcsponsables des tout navire ou navires ou autres ebjets que les navires ou objets en

collision sent en defaut a l'egard d‘une collision ou d‘un centrat.

16. MODIFICATlUNS STRUCTURELLES

Les Afi`reteurs auront la pessibilite de faire a leurs frais des modifications structurelles au Navire avec le
consentement ecrit des Armateurs mais a meins qu'il n'en soit convenu autrement, le Navire deit etre

remis retabli a son etat initial. Le Navire doit rester en lever pendant toute periode de ces modifications

ou retablissements.

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il ARBITRAGE_

Teut litige decoulant de la presente Charte qui ne peut etre regle de maniere amiable sera renvoye
a l‘arbitrage a Lendres conferrnement auX regles et reglcments de l'lnternational Changer of Commerce

de LGNDRES.
La presente Charte sera regie par le dreit anglais.
18. LA POSI’I`ION DE L‘EPAVE DU TITANIOUE

Les Armateurs garantissent qu‘ils ont une connaissancc exacte de la position exacte de l'epave
"TITANIC" et s‘engagent a amener le Navire a cette position et a plenger leur submersible sur le site
TlTANlC (tel que detini dans la Clause l9. Les Armateurs s‘engagent a feurnir la position eXacte du
TITANIC aux affreteurs. Les Affreteurs ne divulguerent pas inutilement la position DE L’EPAVE DU
TITANIQUE a un tiers.

19. DEFINITION DU ”SITE”

“LE SITE" est:

l. Les sections de proue et de peupe de "RMS TITANIC". '

2. La Zene qui se trouve a un demi mille marin de chaque cete de la ligne, de l'avant de la section de

proue a l‘arriere de la section de poupe, etendue un mille nautique a l‘arriere de la section de
poupe.
zc. RECUPERA'rloN D' eBJETs

20.1. Les ARMATEURS remettrent sans delai aux Affreteurs tous les objets cellectes sur ou du site
Titanic pendant l'executien de cette Charte-partie. Les ARMATEURS renoncent a tous les dreits de

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prepriete sur les ebjets recueillis pendant l'expeditien effectuee en vertu de cette Charte, tant pour eux~
memes que pour le compte du Capitaine, des Ofticiers, de l'Equipage, des preposes et des agents, a

condition que tous les paiements deiinis a l'article 24 soient faits aux ARMATEURS.

En particulier, les Affreteurs ne peuvent utiliser les ceffres forts que si le terme correspondant est verse a

lFREl\/IER.

202 En raison du fait que les ebjets recueillis par les ARMATEURS pour le compte des Affreteurs ne
sent pas la propriete des ARMATEURS, les Afi`reteurs indemnisent et tiennent a ceuvert les
ARMATEURS centre teute reclamation relative au recouvert des obj ets susmentiennes excepte teuj ours

les reclamations faites par tout capitaine, equipage, agents, preposes ou employes des ARMATEURS.

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Les Affreteurs rembourseront les ARMATEURS de tous les nais juridiques engages par les

ARMATEURS dans le cadre de ces reclamations

Les Affreteurs ne deivent pas vendre les ebjets collectes par les ARMATEURS, mais les utilisent

uniquement a des tins d'expositien.

203 Les ARMATEURS ne sent pas respensables du processus de cenditiennement et de conservation

des obj ets a b'ord du Navire.

20.4 Les ARMATEURS auront le dreit de recueillir quelques echantillons specitiques de l’epave Titanic
a des fins experimentales scientiiiques dans le cadre de la recherche sur la corrosion et / eula recherche
biologique.

La selection des echantillons et 1a cellecte de ces echantillons seront convenues d‘un commun accord

entre le representant des ARMATEURS et les Af&eteurs sur le Navire et la cellecte de ces echantillons

ne deit en aucun cas nuire a l’utilisation du Navire par les At`freteurs.

21. DROITS AUDIO-VISUELS ET AUTRES DR()I’I`S COMMERCIAUX

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21.1. Le titulaire aura en tout temps le droit de beneficier de tous les medias7 les dreits audiovisuels, de

television concernant et provenant des activites de la charte.

21.2. Tous les loges tigurant sur le Navire demeurerent tels quels et la ou ils se trouvent, cependant les
atfreteurs auront le droit de placer tels leges supplementaires qu'ils desirent sur le navirc et / ou
l'equipement auxiliaire dans la position qu’ils desirent, peurvu que ce pesitiennement ne deit pas
interferer avec l'exploitation du navire ou de toute partie de celui-ci ou ebscurcir les ARMATEURS ou

autres lo gos eu nems actuellement sur le <<navire» et ses equipements auxiliaires.
21.3 Arrangements de marchandisage pour les ieuets et les modeles

Seus reserve des dispositions de la presente sectien, les At`freteurs censervent et beneficient de tous
dreits de marchandisage et autres droits cemmerciaux relatifs auX activites de la Charte et decoulant de
ces activites. Les Affreteurs ent pleinement le dreit d'autoriser et de patenter la production de modeles,
de jeuets et de representations des bateaux et du materiel utilises par l'IFREl\/[ER aux tins de la Charte-
partie (<<les navires et l‘equipement») pour le merchandising et le gain commercial dans le cadre de

l‘eXpeditien de TlTANIC de 1987 .

 

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L'IFREMER a dreit a 5% du chiffre d‘affaires total des ventes de jeuets et des medeles representant
l'equipement de l'IFREl\/lER.

Apres le 31 aeut 1992, les Affreteurs ne peurrent, sans le eensentement ecrit prealable des Armateurs,
conclure de neuveaux centrats pour la commercialisation, la production et la vente des jeuets, mais tous

les contrats cenclus par les Ai`freteurs avant cette date devrent etre execute jusqu'a l’expiratien.

21.4 Les Affreteurs deivent informer les ARMATEURS de la preparation de tout film ou euvrage relatif
aux expeditions RMS TlTANlC ou au site TITANIC.

22. EXPEDITIONS FUTURES SUR LE SITE TITANIOUE

22.1 Si l’affreteur a l‘intentien de planit`ier des expeditions supplementaires sur le site TITANIC pendant
les annees 1988 a 1992 inclus, l'affreteur infermera les ARMATEURS de ses intentions avant le 31

janvier de l'annee au ceurs de laquelle l'expeditien aura lieu.

22.2. Si IFREMER sera centacte pendant les annees 1988 a 1992 par une neuvelle entite sans
prepaiement sur les sites TlTANlC, IFREMER accorder un dreit de premier requ a l‘accerd a le
CHARTERER pour lui permettre de participer a un nouveau TlTANlC expedition

Le premier dreit de requ deit etre exerce par le CHARTERER dans les trois semaines suivant l‘avis

donne par ecrit par 1'IFREMER.

23. REsPeNsABILITE

23.1. Les ARMATEURS garantissent que le navire est en etat de navigabilite et cenvient dans tous les

aspects ases fenctiens en vertu de cette Charte.

23,2. La gestion et l'exploitation du navire, les operations de plengee et l‘ensemble de la securite du

navire, ainsi que toutes les depenses et respensabilites decoulant de ce qui suit sent a la seule

responsabilite des ARMATEURS.

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LES ARMATEURS sent seuls rcsponsables des dommages et prejudices causes a tout Capitaine,
equipage, prepose, agent ou employe des ARMATEURS ou de toute autre personnc se trouvant a bord
du Navire a leur demande et pour tous dommages ou pertes causes ou encourus par le navire ou d‘autres
biens des ARMATEURS ou des ARMATEURS leurs-meme decoulant de ou de toute maniere liee a
l‘executien des travaux en mer ou sous-marin en vertu du present accord, quelle qu‘en soit la cause. Seus
reserve de Seus Clause 23.3 des presentes, les ARMATEURS sent respensables de tous les dommages
et prejudices subis eu encourus en relation avec les reclamations faites par des tiers, a l‘exceptien des
journalistes, des compagnies de television et de toutes les persen_nes invitees a berd par les affreteurs et
les ARMATEURS devrent indemniser et tenir a ceuvert les afneteurs de toutes les reclamations pour de

telles pertes, demmages, depenses, ceuts.

Aucune disposition de la presente clause eu de la charte-partie dans son ensemble ne peut etre

consideree comme transferant les respensabilites et respensabilites susmentiennees aux affreteurs.

Les ARMATEURS ne seront pas rcsponsables des pertes eu dommages causes aux objets de l'epave de
RMS TlTANlC a partir du moment eu de la correction ou de la recuperation par les ARMATEURS

jusqu'a ce que ces objets soient remis aux affreteurs cenfermement a la clause 20.1,

23.3. Les ARMATEURS seront tenus rcsponsables de tous les dommages causes par les dommages
causes par les tiers, a l'exceptien des journalistes, des secietes de television et de toutes les personnes
invitees a bord par les Affreteurs, et les ARMATEURS devrent indemniser les Affreteurs de teute

responsabilite Reclamatiens pour de telles pertes, dommages, depenses, couts.

Aucune disposition de la presente clause ou de la Charte-partie dans son ensemble ne peut etre

consideree comme transferant les droits et obligations susmentiennes aux Affreteurs.

 

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Les ARMATEURS ne seront toutefois pas responsables des pertes ou dommages causes aux objets de
l‘epave de RMS TlTANlC a partir du moment de la correction ou de la recuperatien par les

ARMATEURS jusqu‘a ce que les ebjets soient remis aux Affreteurs confermement a la clause 20.1.

23.3. Les affreteurs sent rcsponsables de toutes les pertes dommages et frais et reclamations resultant de
deces ou de blessures corporelles a tout passager ou autre personnc (a l'exclusien du Capitaine, de
l'equipage, prepose, agent ou employe des ARMATEURS) a bord du navire a leur demande ou a la

cennaissance ou censentement des Affreteurs,

Les affreteurs seront rcsponsables de toute perte ou dommage aux objets provenant de l‘epave de RMS

TITANIC apres leur remise par les ARMATEURS. Pour eviter tout deute, les affreteurs et ses

compagnies d‘assurance renoncent a tout dreit de peursuivre les ARMATERURS a l'egard de toutes les

questions couvertes par le present paragraphe.

23.4. Les Armateurs ne peuvent etre tenus pour responsables de tout retard cause par une greve des

personnes autres que les employes ou agents des Armateurs.
ARTICLE 24 - CONDITIONS DE PAIEMENT

24.1. Le lever globale de la Charte pour la periode d‘affretement de base (54 jeurs), sous reserve de
d‘eption d‘arrangement decrit au paragraphe 24.2 ci-desseus, est une somme forfaitaire de 6 610 000
francs francais (huit millions six cent dix mille francs) plus 3 690 000 francs francais (huit millions six
cent quatre~vingt-dix mille francs francais) pour le recouvrement du premier cefii:e du TITANIQUE,
plus 615 000 francs francais (six cent quinze mille francs francais) pour chacun des deux ceffrets-ferts

supplementaires du TITANIQUE.
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La Chartes globale engagees pour la periode d’affretement de base (54 jeurs) seront payees comme suit:
a/ Les Affreteurs delivrerent avant le 3 juillct 1987 une lettre de credit irrevocable en faveur de l‘lFREl\/IER,
compte no. 2335 A

CREDIT LYONNAIS, Agence Digne Entreprises

75008 - PARIS, 55 Champa Elysee

Telex 660 021 P
avec la condition de paiement suivante:

- 1 291 500 FF payables au plus tard le 3 juillct 1987

- 2 000 000 FF a payer a la reception d‘un telex emis par IFREMER cenflrmant le depart du NAVIRE

NADIR de TOULON pour le SlTE DU TITANIQUE,

- 2 000 000 FF a payer a la reception d‘un telex delivre par l‘IFRElviER cenfirmant que la premiere

plengee NAUTILE a lieu sur le SlTE DU TITANIQUE,

~ PF 2.000.000 payable trente jours apres la date de 1a premiere NAUTILE DIVE sur le site TITANIC.

- 1 318 500 FF payables le 30 septembre 1987 sur presentation d‘une facture de l'lFREMER.

b / Les Affreteurs delivreront une lettre de credit irrevocable en faveur du compte IFREMER definie au
paragraphe a de FF 3 690 000 pour le recouvrement du premier coffre du TlTANIQUE. .

Cette lettre de credit deit etre emise par les Affreteurs au plus tard 48 heures apres le recouvrement du
coffre notifie aux Affreteurs par telex enveye par l‘IFREl\/LE`,R.

Le montant de 3 690 000 FF sera payable le 30 septembre 1987 sur presentation d‘une facture par
lFREl\/lER,

c / Les Affreteurs seront une lettre de credit irrevocable en faveur du compte IFREMER defini au
paragraphe a de 615 000 FF peur le recouvrement de chacun des deux coffres supplementaires du TlTANlQUE,

Ces lettres de credit deivent etre delivrees par les Affreteurs au plus tard 48 heures apres le recouvrement
du ceffre netifie aux Affreteurs par telex adresse par l'IFREMER.

Le montant de 615 000 FF sera payable pour deux ceffrets-ferts additionnels recuperes le 30 nevernbre

1987 sur presentation d‘une facture par IPREMER.
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Appendice <<A» a 1a Charte-partie
Nem du Navire : NADlR

Navire de soutien pour la recherche seus~marine - caracteristiques principales:

classe de navire BV+1-3 w 3 E (haute mer) Glace 111

longueur tetale 55,75 m
faisceau global 11,89 m
ebauche max. 4,69 m
prefondeur meule 5,50 m au pont principal
deplacement 2035 tons
cargaison sur pont 360 tons
airedepent 33mx11rn
poids mert 1173 tons
propulsion principale:

. quatre meteurs, puissance totale 2 400 CV

. deux moteurs sur chaque helice a pas reglable

. propulseur auxiliaire: propulseur d'etrave a breuillard 420 CV
. puissance electrique 970 KVA

380 V 50 HZ 3 phases,

- Equipement
Systeme de navigation par satellite
Telephenie par INMARSAT

~ installations pour le transport du Nautile
- un pertique arriere special (20 tennes)

- une plateforme roulante pour le transfert du submersible a l'atelier
- installations pour le transport d'équipements de surface impertants
- une crane principale (3 tonnes a 14,7m)

~ recipients de laborateire (20 ‘)

 

- agents d'hebergementet hemmes 14
- personnel technique: 15
- passagers: 10

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